          Case 2:19-bk-24804-VZ                  Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12                                       Desc
                                                  Main Document    Page 1 of 331

 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &     FOR COURT USE ONLY
 Email Address
 Richard M. Pachulski (CA Bar No. 90073)
 Jeffrey W. Dulberg (CA Bar No. 181200)
 Malhar S. Pagay (CA Bar No. 189289)
 PACHULSKI STANG ZIEHL & JONES LLP
 10100 Santa Monica Boulevard, 13th Floor
 Los Angeles, CA 90067
 Telephone: 310/277-6910
 Facsimile: 310/201-0760
 Email: rpachulski@pszjlaw.com
        jdulberg@pszjlaw.com
        mpagay@pszjlaw.com

      Attorney for: Debtor

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                     CASE NO.: 2:19-bk-24804-VZ

 YUETING JIA,                                                               CHAPTER: 11

                                                    Debtor(s).                        NOTICE OF OBJECTION TO CLAIM

                                                                            DATE: May 7, 2020
                                                                            TIME: 1:30 p.m.
                                                                            COURTROOM: 1368
                                                                            PLACE: 255 East Temple Street
                                                                                   Los Angeles, CA 90012



1. TO (specify claimant and claimant's counsel, if any):                  Shenzhen Jincheng Commercial Factoring Co., Ltd. and
     Jie Feng
2.   NOTICE IS HEREBY GIVEN that the undersigned has filed an objection to your Proof of Claim (Claim No. 56) filed in
     the above referenced case. The Objection to Claim seeks to alter your rights by disallowing, reducing or modifying
     the claim based upon the grounds set forth in the objection, a copy of which is attached hereto and served
     herewith.
3. Deadline for Opposition Papers: You must file and serve a response to the Objection to Claim not later than 14
   days prior to the hearing date set forth above.
     IF YOU FAIL TO TIMELY RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE
     RELIEF REQUESTED IN THE OBJECTION WITHOUT FURTHER NOTICE OR HEARING.


Date:     April 3, 2020                                                          PACHULSKI STANG ZIEHL & JONES LLP
                                                                                 Printed name of law firm
                                                                                 /s/ Malhar S. Pagay
                                                                                 Signature
Date Notice Mailed: April 3, 2020                                                Malhar S. Pagay
                                                                                 Printed name of attorney for objector




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2012                                                          Page 1                          F 3007-1.1.NOTICE.OBJ.CLAIM
DOCS_LA:328813.1 46353/002
                                                                   Case 2:19-bk-24804-VZ             Doc 554
                                                                                                         504 Filed 04/03/20
                                                                                                                   04/02/20 Entered 04/03/20
                                                                                                                                    04/02/20 16:54:12
                                                                                                                                             22:58:16                            Desc
                                                                                                      Main
                                                                                                      MainDocument
                                                                                                           Document Page
                                                                                                                       Page21of
                                                                                                                             of331
                                                                                                                                52


                                                                   1   Richard M. Pachulski (CA Bar No. 90073)
                                                                       Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2   Malhar S. Pagay (CA Bar No. 189289)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, CA 90067
                                                                   4   Telephone: 310/277-6910
                                                                   5   Facsimile: 310/201-0760
                                                                       Email: rpachulski@pszjlaw.com
                                                                   6            jdulberg@pszjlaw.com
                                                                                mpagay@pszjlaw.com
                                                                   7
                                                                       Attorneys for Debtor and Debtor in Possession
                                                                   8

                                                                   9                                   UNITED STATES BANKRUPTCY COURT
                                                                  10                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                  11
                                                                                                                  LOS ANGELES DIVISION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   In re:                                                         Case No.: 2:19-bk-24804-VZ
                                        LOS ANGELES, CALIFORNIA




                                                                  13   YUETING JIA,1
                                           ATTORNEYS AT LAW




                                                                                                                                      Chapter 11
                                                                  14                                       Debtor.                    DEBTOR’S NOTICE OF OBJECTION
                                                                                                                                      AND OBJECTION TO CLAIM 56 FILED
                                                                  15                                                                  BY SHEHZHEN JINCHENG
                                                                                                                                      COMMERCIAL FACTORING CO., LTD.;
                                                                  16                                                                  MEMORANDUM OF POINTS AND
                                                                                                                                      AUTHORITIES AND DECLARATIONS
                                                                  17                                                                  OF YUETING JIA AND SHAN HE IN
                                                                                                                                      SUPPORT THEREOF
                                                                  18

                                                                  19                                                                  Date:           May 7, 2020
                                                                                                                                      Time:           1:30 p.m.
                                                                  20                                                                  Place:          Courtroom 1368
                                                                                                                                                      Roybal Federal Building
                                                                  21                                                                                  255 E. Temple Street
                                                                                                                                                      Los Angeles, California 90012
                                                                  22
                                                                                                                                      Judge:          Hon. Vincent P. Zurzolo
                                                                  23

                                                                  24            PLEASE TAKE NOTICE that, on May 7, 2020, beginning at 1:30 p.m. (Pacific Time), or

                                                                  25   as soon thereafter as counsel may be heard before the Hon. Vincent P. Zurzolo, in Courtroom 1368

                                                                  26   of the Edward R. Roybal Federal Building and Courthouse, located at 255 E. Temple Street, Los

                                                                  27
                                                                       1
                                                                        The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is
                                                                  28   91 Marguerite Drive, Rancho Palos Verdes, CA 90275.


                                                                       DOCS_LA:328761.1 46353/002
                                                                   Case 2:19-bk-24804-VZ            Doc 554
                                                                                                        504 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                   04/02/20 16:54:12
                                                                                                                                            22:58:16                        Desc
                                                                                                     Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page32of
                                                                                                                            of331
                                                                                                                               52


                                                                   1   Angeles, California 90012, pursuant to the Order (I) Approving the Fourth Amended Disclosure

                                                                   2   Statement; (II) Approving the Voting Procedures and Tabulation Procedures; (III) Setting the Date

                                                                   3   and Time for the Confirmation Hearing and Related Deadlines; (IV) Waiving Certain Local Rules

                                                                   4   and Procedures Related to the Timing and Approval of the Fourth Amended Disclosure Statement

                                                                   5   and Confirmation of the Third Amended Plan; and (V) Granting Related Relief [Docket No. 485]

                                                                   6   (the “Disclosure Statement Order”), which provides, in pertinent part, that if the Debtor has served

                                                                   7   an objection or request for estimation as to a claim by April 2, 2020, such claim shall be temporarily

                                                                   8   disallowed for voting purposes only (and not for purposes of allowance or distribution), except to the

                                                                   9   extent and in the manner as may be set forth in such objection or request, or as ordered by the Court

                                                                  10   before the voting deadline, i.e., April 30, 2020 at 4:00 p.m. (Beijing Time),2 Yueting Jia, the debtor

                                                                  11   and debtor in possession herein (the “Debtor” or “YT”), will object (the “Objection”) to claim
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   number 56, filed by Shenzhen Jincheng Commercial Factoring Co., Ltd. (the “Claim”), in
                                        LOS ANGELES, CALIFORNIA




                                                                  13   accordance with a share transfer agreement dated June 30, 2017 (the “Share Transfer Agreement”)
                                           ATTORNEYS AT LAW




                                                                  14   entered into by and among the Debtor, Meng Wu, LESHI Holding (Beijing) Ltd. Co. (“LESHI”),

                                                                  15   and the Claimant, pursuant to which Meng Wu agreed to transfer equity interests of a third party to

                                                                  16   the Claimant in exchange for the cancellation of debt in the amount of $97.91 million3 that LESHI

                                                                  17   owed under a certain loan agreement. Pursuant to the Share Transfer Agreement, the Debtor’s

                                                                  18   liability to the Claimant has been canceled.

                                                                  19           A true and correct copy of the Claim is attached to the Notice of Objection to Claim, which

                                                                  20   has been served on Claimant. The Objection seeks to disallow the Claim only in connection with

                                                                  21   voting on the Debtor’s Third Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy

                                                                  22   Code [Docket No. 464] and does not impact the ultimate allowance of the Claim or distributions the

                                                                  23   Claimant may be entitled to receive on account of the Claim.

                                                                  24           PLEASE TAKE FURTHER NOTICE that the Objection has been served upon Claimant

                                                                  25   and all parties entitled thereto and is based upon the supporting Memorandum of Points and

                                                                  26

                                                                  27   2
                                                                        Disclosure Statement Order, 6 at ¶ 17(e).
                                                                       3
                                                                        This amount has been converted from the $692 million Chinese Yuan to US Dollars using 7.0676, the closing rate
                                                                  28   published by the Wall Street Journal as of October 14, 2019, the Petition Date. See https://www.wsj.com/market-
                                                                       data/quotes/fx/USDCNY/historical prices<https://www.wsj.com/market data/quotes/fx/USDCNY/historical-prices
                                                                                                                                2
                                                                       DOCS_LA:328761.1 46353/002
                                                                   Case 2:19-bk-24804-VZ            Doc 554
                                                                                                        504 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                   04/02/20 16:54:12
                                                                                                                                            22:58:16                Desc
                                                                                                     Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page43of
                                                                                                                            of331
                                                                                                                               52


                                                                   1   Authorities and Declarations of Yueting Jia and Shan He, the statements, arguments and

                                                                   2   representations of counsel who appear at the hearing regarding the Objection, the files and records in

                                                                   3   the above-captioned case, any evidence properly before the court prior to or at the hearing regarding

                                                                   4   the Objection and all matters of which the court may properly take judicial notice.

                                                                   5           PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-1(f),

                                                                   6   responses to the Objection must be filed with the Court and served upon the Debtor’s counsel at the

                                                                   7   address in the upper left-hand corner of this Objection no later than fourteen (14) days prior to the

                                                                   8   hearing date. Responses must contain a written statement of all reasons the Objection is opposed

                                                                   9   and must include declarations and copies of all documentary evidence on which the responding party

                                                                  10   intends to rely. Responses must be filed either electronically or at the following location:

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                       United States Bankruptcy Court
                                                                                                             Attention: Clerk’s Office
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                            255 E. Temple Street
                                           ATTORNEYS AT LAW




                                                                                                              Los Angeles, CA 90012
                                                                  14

                                                                  15           IF YOU DO NOT OPPOSE THE OBJECTION YOU DO NOT NEED TO FILE ANY

                                                                  16   PAPERS, SIGN ANY FURTHER AGREEMENTS OR TAKE ANY FURTHER ACTION.

                                                                  17           PLEASE TAKE FURTHER NOTICE that if a response is not timely filed and served, the

                                                                  18   Debtor will request that the court grant the relief requested in the Objection without further notice or

                                                                  19   hearing.

                                                                  20           PLEASE TAKE FURTHER NOTICE that if a response is timely filed and served upon the

                                                                  21   Debtor’s counsel, the Court, in its discretion, may treat the initial hearing as a status conference if it

                                                                  22   determines that the Objection involves disputed factual issues or will require presentation of

                                                                  23   substantial evidence or argument.

                                                                  24           WHEREFORE, the Debtor respectfully requests that the Court enter an order (i) sustaining

                                                                  25   the Objection; (ii) disallowing the Claim in its entirety for voting purposes; and (iii) granting such

                                                                  26   other and further relief as may appropriate under the circumstances.

                                                                  27

                                                                  28

                                                                                                                            3
                                                                       DOCS_LA:328761.1 46353/002
                                                                   Case 2:19-bk-24804-VZ            Doc 554
                                                                                                        504 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                   04/02/20 16:54:12
                                                                                                                                            22:58:16           Desc
                                                                                                     Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page54of
                                                                                                                            of331
                                                                                                                               52


                                                                   1   Dated:     April 2, 2020                    PACHULSKI STANG ZIEHL & JONES LLP

                                                                   2
                                                                                                                   By       /s/ Malhar S. Pagay
                                                                   3                                                        Richard M. Pachulski
                                                                                                                            Jeffrey W. Dulberg
                                                                   4                                                        Malhar S. Pagay

                                                                   5                                                        Counsel for Debtor and Debtor in
                                                                                                                            Possession
                                                                   6

                                                                   7

                                                                   8

                                                                   9

                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15

                                                                  16

                                                                  17

                                                                  18

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28

                                                                                                                        4
                                                                       DOCS_LA:328761.1 46353/002
                                                                   Case 2:19-bk-24804-VZ            Doc 554
                                                                                                        504 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                   04/02/20 16:54:12
                                                                                                                                            22:58:16              Desc
                                                                                                     Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page65of
                                                                                                                            of331
                                                                                                                               52


                                                                   1                                MEMORANDUM OF POINTS AND AUTHORITIES

                                                                   2                                                      I.
                                                                   3                                             JURISDICTION
                                                                   4           This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 157 and 1334.

                                                                   5   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief

                                                                   6   sought herein are sections 102, 105 and 502(b) of title 11 of the United States Code, 11 U.S.C.

                                                                   7   §§ 101, et seq. (the “Bankruptcy Code”), and Rules 3007 and 3018(a) of the Federal Rules of

                                                                   8   Bankruptcy Procedure (the “Bankruptcy Rules”).

                                                                   9                                                     II.
                                                                  10                                             BACKGROUND
                                                                  11   A.      Commencement of the Chapter 11 Case
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           On October 14, 2019 (the “Petition Date”), the Debtor commenced this case (the “Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Case”) by filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the
                                           ATTORNEYS AT LAW




                                                                  14   United States Bankruptcy Court for the District of Delaware (the “Delaware Bankruptcy Court”).

                                                                  15   The Debtor continues in possession of his property and manages his affairs as a debtor in possession

                                                                  16   pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                                                                  17           On October 25, 2019, the U.S. Trustee appointed the Official Committee of Unsecured

                                                                  18   Creditors pursuant to section 1102(a)(1) of the Bankruptcy Code (the “Committee”) [Docket

                                                                  19   No. 45]. The Committee consists of the following members: (i) Ping An Bank., Ltd. Beijing Branch;

                                                                  20   (ii) China Minsheng Trust Co., Ltd; (iii) Shanghai Leyu Chuangye Investment Management Center

                                                                  21   LP; (iv) Jiangyin Hailan Investment Holding Co., Ltd; and (v) Shanghai Qichengyueming

                                                                  22   Investment Partnership Enterprise.

                                                                  23           On November 13, 2019, the Court entered an order setting January 24, 2020, as the general

                                                                  24   deadline (the “Bar Date”) for the filing of proofs of claim or proofs of interest against the Debtor’s

                                                                  25   estate. In accordance with the Court’s Order establishing the Bar Date, notice of the Bar Date was

                                                                  26   given by mail to the Debtors’ creditors and interest holders.

                                                                  27           On December 18, 2019, Judge Karen B. Owens of the Delaware Bankruptcy Court

                                                                  28   transferred the Chapter 11 Case to this Court.

                                                                                                                          5
                                                                       DOCS_LA:328761.1 46353/002
                                                                   Case 2:19-bk-24804-VZ              Doc 554
                                                                                                          504 Filed 04/03/20
                                                                                                                    04/02/20 Entered 04/03/20
                                                                                                                                     04/02/20 16:54:12
                                                                                                                                              22:58:16                        Desc
                                                                                                       Main
                                                                                                       MainDocument
                                                                                                            Document Page
                                                                                                                        Page76of
                                                                                                                              of331
                                                                                                                                 52


                                                                   1   B.         Approval of the Debtor’s Disclosure Statement

                                                                   2              On March 20, 2020, the Court entered the Disclosure Statement Order, pursuant to which the

                                                                   3   Court approved the Debtor’s Fourth Amended Disclosure Statement with Respect to Debtor’s Third

                                                                   4   Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 465] in

                                                                   5   respect of the Debtor’s Third Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy

                                                                   6   Code [Docket No. 464] (the “Plan”), and granted other relief.

                                                                   7              The Disclosure Statement Order provides, in pertinent part, that if the Debtor has served an

                                                                   8   objection or request for estimation as to a claim by April 2, 2020, such claim shall be temporarily

                                                                   9   disallowed for voting purposes only and not for purposes of allowance or distribution, except to the

                                                                  10   extent and in the manner as may be set forth in such objection, or as ordered by the Court before the

                                                                  11   voting deadline, i.e., April 30, 2020 at 4:00 p.m. (Beijing Time). Disclosure Statement Order, 6 at
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   ¶ 17(e).
                                        LOS ANGELES, CALIFORNIA




                                                                  13   C.         The Claim
                                           ATTORNEYS AT LAW




                                                                  14              Tao Yun Capital Co. Ltd. (“Tao Yun”) (a.k.a. TWC Group Co., Ltd), Beijing Lan Capital

                                                                  15   Investment Fund Management, and Shenzhen Jincheng Commercial Factoring Co Ltd. (each a

                                                                  16   “TWC Claimant” and collectively, the “TWC Claimants”) are related entities under common control

                                                                  17   of an individual. Such common control is evidenced by the fact that the same individual by the name

                                                                  18   of Jie Feng filed proofs of claim on behalf of all of the TWC Claimants (## 53, 54, 56). The proofs

                                                                  19   of claim at issue indicate that Feng is a project manager at TWC Group Co., Ltd.

                                                                  20              To substantiate their claims, each of the TWC Claimants, including the Claimant, attached to

                                                                  21   their proofs of claim documents evincing obligations owed by LESHI Holding (Beijing) Ltd. Co.

                                                                  22   (“LESHI”) which the Debtor personally guaranteed.

                                                                  23              Pursuant to section 2.02 of the Share Transfer Agreement, attached hereto as Exhibit “A,”

                                                                  24   entered into by and among the Debtor, Meng Wu, LESHI, and Tao Yun, Meng Wu agreed to

                                                                  25   transfer equity interests of a third party to Tao Yun in exchange of a cancellation of debt in the

                                                                  26   amount of $97.91 million4 that LESHI or its related companies owed under the Loan Agreement.

                                                                  27   The provision states, in part, in English:

                                                                  28
                                                                       4
                                                                           This amount has been converted from the $692 million Chinese Yuan to US Dollars using 7.0676, the closing exchange
                                                                                                                                  6
                                                                       DOCS_LA:328761.1 46353/002
                                                                   Case 2:19-bk-24804-VZ            Doc 554
                                                                                                        504 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                   04/02/20 16:54:12
                                                                                                                                            22:58:16                           Desc
                                                                                                     Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page87of
                                                                                                                            of331
                                                                                                                               52


                                                                   1
                                                                                        (b) The second part of the Transaction Consideration is in the form of
                                                                   2                    credit deduction, Taoyun Capital and its related parties and the
                                                                   3                    Actual Controller of LeEco and the LeEco Related Entities agree to
                                                                                        deduct the consideration for the Transaction in the amount of
                                                                   4                    RMB 692 million using the claims contained in the package loans
                                                                                        totaled RMB 692 million yuan. After this Agreement is signed and
                                                                   5                    becomes effective, the above claims are deemed to have been
                                                                                        deducted.
                                                                   6
                                                                                        (c) The Transferor and the Actual Controller of LeEco hereby clarify
                                                                   7
                                                                                        and confirm that after the completion of the above two parts, the
                                                                   8                    Transferee shall be deemed to have paid the full consideration for the
                                                                                        Transaction.
                                                                   9

                                                                  10   (Emphasis added). Attached hereto as Exhibit “B” is an English translation of the Share Transfer

                                                                  11   Agreement.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                                           III.
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                     ARGUMENT
                                           ATTORNEYS AT LAW




                                                                  14   A.      Procedural Requirements for Objections to Claims

                                                                  15           Bankruptcy Rule 3007 governs the procedure for objections to claims. It provides as

                                                                  16   follows: “An objection to an allowance of a claim shall be in writing and filed. A copy of the

                                                                  17   objection with notice of the hearing thereon shall be mailed or otherwise delivered to the claimant

                                                                  18   . . . at least thirty days prior to the hearing.” Fed. R. Bankr. P. 3007.

                                                                  19           Pursuant to Bankruptcy Rule 3007, a copy of the Objection will be mailed to Claimants at the

                                                                  20   addresses provided by Claimants in the Claims, and, where available and if different from the

                                                                  21   address provided on the proof of claim, on each Claimant’s address registered with the National

                                                                  22   Enterprise Credit Information Publicity System (http://www.gsxt.gov.cn/index.html), a government-

                                                                  23   run, national, enterprise credit inquiry system in the People’s Republic of China, at least thirty days

                                                                  24   prior to the hearing date for consideration of the Objection. Accordingly, by the time of the hearing

                                                                  25   hereon, the Trustee will have complied with Bankruptcy Rule 3007.

                                                                  26   B.      The Court Must Determine the Allowance of a Claim Subject to Objection

                                                                  27           With certain exceptions, section 502(b) of the Bankruptcy Code requires, in relevant part,

                                                                  28   rate published by the Wall Street Journal as of October 14, 2019, the Petition Date. See https://www.wsj.com/market-
                                                                       data/quotes/fx/USDCNY/historical prices<https://www.wsj.com/market data/quotes/fx/USDCNY/historical-prices
                                                                                                                                 7
                                                                       DOCS_LA:328761.1 46353/002
                                                                   Case 2:19-bk-24804-VZ            Doc 554
                                                                                                        504 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                   04/02/20 16:54:12
                                                                                                                                            22:58:16                Desc
                                                                                                     Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page98of
                                                                                                                            of331
                                                                                                                               52


                                                                   1   that if a party in interest objects to a claim, “the Court, after notice and a hearing, shall determine the

                                                                   2   amount of such claim in lawful currency of the United States as of the date of the filing of the

                                                                   3   petition, and shall allow such claim in such amount, except to the extent that -- (1) such claim is

                                                                   4   unenforceable against the debtor and property of the debtor, under any agreement or applicable law

                                                                   5   for a reason other than because such claim is contingent or unmatured ….”

                                                                   6   C.      Burden of Proof
                                                                   7           All allegations set forth in a properly filed proof of claim are taken as true and, if the

                                                                   8   allegations set forth all facts necessary to establish a claim and are not self-contradictory, the proof

                                                                   9   of claim constitutes prima facie evidence of the validity and amount of the claim. 11 U.S.C.

                                                                  10   § 502(a); Fed. R. Bankr. P. 3001(f). However, a claimant must attach copies of writings upon which

                                                                  11   claims are based in order to carry its burden of establishing a prima facie case against the debtor.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Hardin v. Gianni (In re King Investments Inc.), 219 B.R. 848, 858 (B.A.P. 9th Cir. 1998). Further, a
                                        LOS ANGELES, CALIFORNIA




                                                                  13   claim should not be allowed if that claim is unenforceable against the debtor and property of the
                                           ATTORNEYS AT LAW




                                                                  14   debtor, under any agreement or applicable law. 11 U.S.C. § 502(b)(1).

                                                                  15           Once the objector raises “facts tending to defeat the claim by probative force equal to that of

                                                                  16   the allegations of the proofs of claim themselves,” Wright v. Holm (In re Holm), 931 F.2d 620, 623

                                                                  17   (9th Cir. 1991), then “the burden reverts to the claimant to prove the validity of the claim by a

                                                                  18   preponderance of the evidence.” Ashford v. Consolidated Pioneer Mortgage (In re Consolidated

                                                                  19   Pioneer Mortgage), 178 B.R. 222, 226 (B.A.P. 9th Cir. 1995), aff’d, 91 F.3d 151 (9th Cir. 1996).

                                                                  20   “[T]he ultimate burden of persuasion is always on the claimant.” Holm, 931 F.2d at 623. In

                                                                  21   considering an objection to a claim, a bankruptcy court may take judicial notice of the underlying

                                                                  22   records in a bankruptcy case. O’Rourke v. Seaboard Surety Co., (In re ER Fergert, Inc.), 887 F.2d

                                                                  23   955, 957-958 (9th Cir. 1998).

                                                                  24   D.      The Claim Should Be Disallowed for Plan Voting Purposes
                                                                  25           Courts recognize that Bankruptcy Rule 3018(a) permits a party in interest to seek to disallow

                                                                  26   a claim for voting purposes. Ultimately, the determination of whether to temporarily allow a claim

                                                                  27   for voting purposes lies within the discretion of the bankruptcy court. See Armstrong v. Rushton (In

                                                                  28   re Armstrong), 294 B.R. 344, 354 (B.A.P. 10th Cir. 2003) (“There is no guidance in the Bankruptcy

                                                                                                                            8
                                                                       DOCS_LA:328761.1 46353/002
                                                                   Case 2:19-bk-24804-VZ            Doc 554
                                                                                                        504 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                    04/02/20 16:54:12
                                                                                                                                             22:58:16              Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page10
                                                                                                                           9 of 52
                                                                                                                                331


                                                                   1   Code to courts as to determine whether to permit the temporary allowance of a claim; it is left to the

                                                                   2   court’s discretion.”). Indeed, courts have broad authority to determine whether to allow or disallow

                                                                   3   a claim for purposes of voting under Bankruptcy Rule 3018(a). See, e.g., In re Mangia Pizza Invs.,

                                                                   4   L.P., 480 B.R. 669, 679 (Banker. W.D. Tex. 2012); In re Zolner, 174 B.R. 629, 633 (Bankr. N.D. Ill.

                                                                   5   1994) (noting that a court must exercise its discretion to allow or disallow a claim under Bankruptcy

                                                                   6   Rule 3018(a) based on reasoned analysis); In re Goldstein, 114 B.R. 430, 433 (Bankr. E.D. Pa.

                                                                   7   1990); Collier on Bankr. ¶ 9-3018[5] (16th ed. rev. 2012) (“The court, however, regardless of the

                                                                   8   circumstances, has the discretion to allow or disallow all or part of the claim for voting purposes.”).

                                                                   9           The $97.91 million in cancellation of LESHI’s debt for which the Debtor personally

                                                                  10   guaranteed exceeds the $90.43 million aggregate principal amount asserted against the Debtor by the

                                                                  11   TWC Claimants as indicated on claim numbers 53, 54 and 56. As the debt for which the Debtor
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   guaranteed was canceled pursuant to the Share Transfer Agreement, no interest should have accrued
                                        LOS ANGELES, CALIFORNIA




                                                                  13   from the time the underlying debt arose. The TWC Claimants’ debt, guaranteed by the Debtor, has
                                           ATTORNEYS AT LAW




                                                                  14   been extinguished, thereby eliminating the Debtor’s guarantee liability. Therefore, the Claim

                                                                  15   should be disallowed.

                                                                  16                                                     IV.
                                                                  17                                 GENERAL RESERVATION OF RIGHTS

                                                                  18           The Debtor expressly reserves the right to amend, modify or supplement this Objection, and

                                                                  19   to file additional, other, or further objections to any proofs of claim filed in this Chapter 11 Case,

                                                                  20   including, without limitation, objections as to the amounts asserted therein, or any other claims (filed

                                                                  21   or not) against the Debtor, regardless of whether such claims are subject to this Objection. Should

                                                                  22   one or more of the grounds of objection stated in this Objection be denied, the Debtor reserves his

                                                                  23   rights to object on other stated grounds or on any other grounds he discovers during the pendency of

                                                                  24   this Chapter 11 Case. In addition, the Debtor reserves the right to file counterclaims against the

                                                                  25   holders of any such claims.

                                                                  26                                                      V.

                                                                  27                                                   NOTICE

                                                                  28           The Debtor will serve copies of this Objection on: (a) the Claimant, (b) the Office of the

                                                                                                                           9
                                                                       DOCS_LA:328761.1 46353/002
                                                                   Case 2:19-bk-24804-VZ            Doc 554
                                                                                                        504 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                    04/02/20 16:54:12
                                                                                                                                             22:58:16             Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                         Document PagePage11
                                                                                                                           10of
                                                                                                                              of331
                                                                                                                                 52


                                                                   1   United States Trustee, (c) counsel to the Committee, and (d) all parties who have requested notices

                                                                   2   in this Chapter 11 Case pursuant to Bankruptcy Rule 2002.

                                                                   3
                                                                                                                        VI.
                                                                   4

                                                                   5                                              CONCLUSION

                                                                   6            WHEREFORE, the Debtor respectfully requests that the Court enter an order granting the

                                                                   7   relief requested herein and granting the Debtor such other and further relief as is just and proper.
                                                                   8
                                                                       Dated:       April 2, 2020                    PACHULSKI STANG ZIEHL & JONES LLP
                                                                   9

                                                                  10
                                                                                                                     /s/ Malhar S. Pagay
                                                                  11                                                 Richard M. Pachulski
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                                     Jeffrey W. Dulberg
                                                                  12                                                 Malhar S. Pagay
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                     Attorneys for Debtor and Debtor in Possession
                                                                  14

                                                                  15

                                                                  16

                                                                  17

                                                                  18

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28

                                                                                                                          10
                                                                       DOCS_LA:328761.1 46353/002
                                                                   Case 2:19-bk-24804-VZ             Doc 554
                                                                                                         504 Filed 04/03/20
                                                                                                                   04/02/20 Entered 04/03/20
                                                                                                                                     04/02/20 16:54:12
                                                                                                                                              22:58:16                            Desc
                                                                                                     Main
                                                                                                      MainDocument
                                                                                                          Document PagePage12
                                                                                                                            11of
                                                                                                                               of331
                                                                                                                                  52


                                                                   1                                       DECLARATION OF YUETING JIA

                                                                   2
                                                                                 I, Yueting Jia, debtor herein, hereby declare that the following is true to the best of my
                                                                   3
                                                                       knowledge, information and belief:
                                                                   4
                                                                                 1.      I submit this declaration (the “Declaration”) in support of the Objection to Claim 56
                                                                   5
                                                                       Filed by Shenzhen Jincheng Commercial Factoring Co., Ltd. (the “Objection”)5. If I were called to
                                                                   6
                                                                       testify as a witness in this matter, I could and would competently testify to each of the facts set forth
                                                                   7
                                                                       herein.
                                                                   8
                                                                                 2.      Except as otherwise indicated, all statements in this Declaration are based upon my
                                                                   9
                                                                       personal knowledge, my review of books and records, relevant documents and other information
                                                                  10
                                                                       prepared or collected by my employees, advisors and representatives, or my opinion based on my
                                                                  11
                                                                       experience. In making my statements based on my review of books and records, relevant documents
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       and other information prepared or collected by my professionals, advisors and employees, I have
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       relied upon these professionals, advisors and employees accurately recoding, preparing or collecting
                                                                  14
                                                                       such documentation and other information.
                                                                  15
                                                                                 3.      I am not fluent in English. Accordingly, in the ordinary course of my business and
                                                                  16
                                                                       personal affairs that require me to communicate in English either orally or in writing, I employ
                                                                  17
                                                                       interpreters/translators who are fluent in both English and Chinese. I am utilizing such
                                                                  18
                                                                       interpreters/translators in connection with matters that arise in connection with my Chapter 11 Case
                                                                  19
                                                                       and intend to continue to do so. I have reviewed the Objection and Declaration, as necessary, with
                                                                  20
                                                                       the assistance of such interpreters/translators.
                                                                  21
                                                                                 4.      Upon information and belief, Tao Yun Capital Co. Ltd. (“Tao Yun”) (a.k.a. TWC
                                                                  22
                                                                       Group Co., Ltd), Beijing Lan Capital Investment Fund Management, and Shenzhen Jincheng
                                                                  23
                                                                       Commercial Factoring Co Ltd. (each a “TWC Claimant” and collectively, the “TWC Claimants”)
                                                                  24
                                                                       are related entities under common control of an individual. Such common control is evidenced by
                                                                  25
                                                                       the fact that the same individual by the name of Jie Feng filed proofs of claim on behalf of all of the
                                                                  26

                                                                  27

                                                                  28   5
                                                                         Capitalized terms not defined in this declaration shall have the same meaning ascribed to them as set forth in the
                                                                       Objection.
                                                                                                                                   11
                                                                       DOCS_LA:328761.1 46353/002
                                                                   Case 2:19-bk-24804-VZ            Doc 554
                                                                                                        504 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                    04/02/20 16:54:12
                                                                                                                                             22:58:16                       Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                         Document PagePage13
                                                                                                                           12of
                                                                                                                              of331
                                                                                                                                 52


                                                                   1   TWC Claimants (## 53, 54, 56). The proofs of claim at issue indicate that Feng is a project manager

                                                                   2   at TWC Group Co., Ltd.

                                                                   3           5.       To substantiate their claims, each of the TWC Claimants, including the Claimant,

                                                                   4   attached to their proofs of claim documents evincing obligations owed by LESHI Holding (Beijing)

                                                                   5   Ltd. Co. (“LESHI”), which I guaranteed.

                                                                   6           6.       Pursuant to section 2.02 of the Share Transfer Agreement, attached hereto as Exhibit

                                                                   7   “A,” entered into by and among me, Meng Wu, LESHI, and Tao Yun, Meng Wu agreed to transfer

                                                                   8   equity interests of a third party to Tao Yun in exchange of a cancellation of debt in the amount of

                                                                   9   $97.91 million6 that LESHI or its related companies owed under the Loan Agreement.

                                                                  10           7.       Attached hereto as Exhibit “B” is an English translation of the Share Transfer

                                                                  11   Agreement..
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           I declare under penalty of perjury under the laws of the United States of America that the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   foregoing is true and correct.
                                           ATTORNEYS AT LAW




                                                                  14           Executed this 2nd day of April, 2020, at Gardena, California.

                                                                  15

                                                                  16

                                                                  17                                                             YUETING JIA

                                                                  18

                                                                  19
                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27
                                                                       6
                                                                         This amount has been converted from the $692 million Chinese Yuan to US Dollars using 7.0676, the closing exchange
                                                                  28   rate published by the Wall Street Journal as of October 14, 2019, the Petition Date. See https://www.wsj.com/market-
                                                                       data/quotes/fx/USDCNY/historical prices<https://www.wsj.com/market data/quotes/fx/USDCNY/historical-prices
                                                                                                                               12
                                                                       DOCS_LA:328761.1 46353/002
                                                                   Case 2:19-bk-24804-VZ            Doc 554
                                                                                                        504 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                    04/02/20 16:54:12
                                                                                                                                             22:58:16             Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                         Document PagePage14
                                                                                                                           13of
                                                                                                                              of331
                                                                                                                                 52


                                                                   1                                   DECLARATION OF SHAN HE

                                                                   2           I, Shan He, declare as follows:

                                                                   3           1.       I am a Chinese translator, simultaneous interpreter and localization project manager

                                                                   4   employed since April 2017 by (a) Yueting Jia, the debtor and debtor in possession (the “Debtor”),

                                                                   5   that has filed a voluntary petition under chapter 11 of title 11 of the United States Code (the

                                                                   6   “Bankruptcy Code”) commencing the above-captioned bankruptcy case (the “Chapter 11 Case”),

                                                                   7   and (b) Faraday Future (“FF”), an entity in which the Debtor holds an indirect interest.

                                                                   8           2.       I am a native speaker of Chinese (Mandarin) and maintain full professional fluency in

                                                                   9   English. I hold a Bachelor of Science degree in English from Beijing Language and Culture

                                                                  10   University and a Master of Arts in Translation and Interpretation (Chinese – English) degree from

                                                                  11   the Monterey Institute of International Studies (“MIIS”). I am certified in Simultaneous and
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Consecutive Interpretation between English and Chinese by MIIS. I currently provide translation
                                        LOS ANGELES, CALIFORNIA




                                                                  13   services for the Debtor and his General Counsel. Prior to my work with the Debtor and FF, I have
                                           ATTORNEYS AT LAW




                                                                  14   provided interpretation and translation services for a variety of organizations, including the United

                                                                  15   Nations Institute for Training & Research (UNITAR), Syntes Language Group, and the Austrian

                                                                  16   Embassy.

                                                                  17           3.       The Debtor is not fluent in English. Accordingly, in the ordinary course of his

                                                                  18   business and personal affairs that require him to communicate in English either orally or in writing,

                                                                  19   he employs interpreters/translators like me who are fluent in both English and Chinese.

                                                                  20           4.       I am in regular communication with the Debtor’s professionals, including legal

                                                                  21   counsel.

                                                                  22           5.       At the direction of the Debtor, I have reviewed that certain share transfer agreement

                                                                  23   dated June 30, 2017 (the “Share Transfer Agreement”), entered into by and among the debtor, Meng

                                                                  24   Wu, LESHI, and Tao Yun, attached hereto as Exhibit “A” and Exhibit “B,” an English translation

                                                                  25   of the Share Transfer Agreement.

                                                                  26           6.       To the best of my knowledge, the English translation accurately reflects the contents

                                                                  27   and meaning of the original Share Transfer Agreement.

                                                                  28

                                                                                                                          13
                                                                       DOCS_LA:328761.1 46353/002
                                                                   Case 2:19-bk-24804-VZ            Doc 554
                                                                                                        504 Filed 04/03/20
                                                                                                                  04/02/20 Entered 04/03/20
                                                                                                                                    04/02/20 16:54:12
                                                                                                                                             22:58:16           Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                         Document PagePage15
                                                                                                                           14of
                                                                                                                              of331
                                                                                                                                 52


                                                                   1           I declare under penalty of perjury under the laws of the United States of America that the

                                                                   2   foregoing is true and correct.

                                                                   3                             2nd day of April, 2020, at _______________,
                                                                               Executed on this ____                        Long Beach       California.

                                                                   4

                                                                   5
                                                                                                                              ____________________________
                                                                   6                                                                          Shan He

                                                                   7

                                                                   8

                                                                   9

                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15

                                                                  16

                                                                  17

                                                                  18

                                                                  19
                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28

                                                                                                                         14
                                                                       DOCS_LA:328761.1 46353/002
Case 2:19-bk-24804-VZ   Doc 554
                            504 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                        04/02/20 16:54:12
                                                                 22:58:16   Desc
                        Main
                         MainDocument
                             Document PagePage16
                                               15of
                                                  of331
                                                     52




                               EXHIBIT A
Case 2:19-bk-24804-VZ   Doc 554
                            504 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                        04/02/20 16:54:12
                                                                 22:58:16   Desc
                        Main
                         MainDocument
                             Document PagePage17
                                               16of
                                                  of331
                                                     52




                                 20 17   1¥ 6 J=J 30 D
Case 2:19-bk-24804-VZ         Doc 554
                                  504 Filed 04/03/20
                                            04/02/20 Entered 04/03/20
                                                              04/02/20 16:54:12
                                                                       22:58:16                     Desc
                              Main
                               MainDocument
                                   Document PagePage18
                                                     17of
                                                        of331
                                                           52



                   ~tJJt*7J$Z\{~J~ji*~~~%P]
                                     JJttt~il#}i,3(
            +-   <'1JQ*xZ7 tl:th,i.x» n:J, 1..-,M:::0 ''-*th-i5C' ) r.h 12rF~7J° c~l~~::1~ "-1J",
   (tH:1:1 "~15·')    f 2017 {1: 6 JJ 30 11 (1-:r~-1 rfil~t~m*~li.~~ :




             l)f~ti1E '·J: 14273319730105007x




             fl· J9ill!!:
Case 2:19-bk-24804-VZ              Doc 554
                                       504 Filed 04/03/20
                                                 04/02/20 Entered 04/03/20
                                                                   04/02/20 16:54:12
                                                                            22:58:16                                      Desc
                                   Main
                                    MainDocument
                                        Document PagePage19
                                                          18of
                                                             of331
                                                                52




               ( 1) Jt.,?3'.i~1T 1fLd§.~JJ(:,f\:if~~i~r:ij ( "~l'fJ0~,, )~ - ~q~.J1.~ -l 1lfli:Hl~J1,l(v:n<Jf-J_
                                                                                                   1

     1f~H-HiH1fffl~-VHf0QJ, 1t:,t1-t*:A::0riMft rixiLHHJ'J:;~ 2010 {1:: s JJ 21 LI, 1B111~.+~tJHx
     ~~BJ=t--iiJJJit1*~::0 I, 100 )j ;r..A I:( rfJ, J5Jr;{=f!JJt~~f.~i3~$~~fflxl l\ili:,'f.?,~. f,T-1~~0ITJ&
     Easy Go Inc. ( Cayman )            ( "Easy Go" )       )tlrlJ1f79fMDtf~if-Jffi!f:.MIHHl(JL~J-iTH%- 'l~Fi'M¥1JJ~J
     $ ( " ~JIJ~III" ) r1~11ft --1;nif~i.u:*x1=-ff-I77ln1E·,3";t.:W.

              ( 2 ) Iff:.'lri c "$nl:15"" ) , 'l-{fil0R . -*¥T-r1{j0rrJ(l~fifl)tflxfi&~J,fW.ti~HltXUX/.,-, 1t
     1~:r,Hf10;A1i~ITJ 66. 67%(J{JMx~:X.

              ( 3 ) J:mHftiifJi1F~-tifJir1:kf£~ Cfff;Rit1:k) < " ~i.t:ti" §JG "!IM" ) ~ - ~Wd1i5
     rrl 1il1!Wir1!1&:tr__E1_1-1~:ffff.ttD~til;~-fr.-1:kjj?:~.

             (4) *l't:tifl;t cJtJi{ ) ff J1~0fi"J C" ;F-~~JN:" ) ~ - #17-z11,i;q-1 ffi11tWJ1xi1:(J<1.EL
     1f ~i7f ~!t B'-Ff.Ifi~ iJHf i~ ,:iJ. ~J,f1:t.s~JJQ:ft:1~ *tlJ-iSl~ 2.02 1'k cb) 1bUW.IB- ·lJJFf1tU,xz10
     3'}- 71
           0




               <s ) ~~;~:, ii:=::0~T-t.W,1·~Hlt.&Jt1ilitU:X: :=t1*~~µi;1~Hi1JA            <" ;F-~~~A " ), IUi
     D.xf1'lHlJ$.*Ll'E!JAMf!)f ll!Ff, *f!,M~/12: dl:;rin ifflf~-0 i; L 5Jd1t¥zdJ~fi~f~ .'~J{,-i( dt
     .Jtn {flll~i~fiJ , **11:{c~fF2~1iz~ cJI:;~) 1-:flllii~f-fL ~T-~T,!irJ1~: ~~x1t11nt dt
     11) ffllt'40ii'L ~Jd.W,~-5~X1t/r.~'.&:JM <~l:;JJ() 1=ffll~i~ffJ , .It~ s I/M>C1-t1-lz9~{-fliUi~
     "f:fj, ~ & Lucky CI over C!J_J: ~"f l~~li AE-ttEX r1~JB'<l1H,1J tr'-J l:.~ i~ 0] t}fffj, ";f-~ffl*
     :±1*")0

               c6) im1:itt1*~1JlffllR0-§'J c "~~~*"                   ) . ;.~ -:i:fi''<1i'-f-i tID1t1~~,1.lt11.r1t11tf~xff
     tMt<J~~R.J.rffi~"§'J, t£JE1-~*A::01m\J1~*·

               c1)tt'iJ:1.Tt~tJ<n':{4( ~J· ~x1J<J*-iM'.t09kfLI: ~~ J:tHHn~~;;r-(1~ i~~J 66.67%R(]JH.Ux:
      (" ~a<J~;t:'£ ") l#il:~fr~il~7J , laJwJ- ~Jdli~~.J?tA.J~ i).t1i Easy Go (1~t~JJ1/J!V'J~ Lucky
     Cl over L imited ( " Lucky Cl over ")              ~-J{t:t-1=frl',J Easy Go 66.67%D(Jfl.\z:",f.X ("Easy   Go .ll9:
     t£") ~t; U:: MHiii ~J lli   *-t~                                                                  ix.
                                        1-E 1Q5'1, ~ !f-~71 , # j -HI- ~ :f} tQ 10. ttHI, /J:Hll ~1i HJJ,
                                                                                                                                 ,.'
               <s)   riVH1I lli*&4t~rrk1I .!=j *+m~liA, *l!~1J1JA -1=:H~~rHJ:jlJt- t!Xf-1-m-~ c·-                                ·,
                                                                                                                                 j
                                                                                                                                     }




     ~rffi~ ") (l(H~iHr EX~'::ifflfHHX rl=1m T-ttUntffiD(JIJx{:Jl,& Easy Go HlHx'.3( ~ x,J- ffr C-fr,M,
     ";.$: l.J( 3( kl, ") C :iEh.ltJt i.H  o

                                                                                                                                 -
                                                                                                                                 '
                                                                                                                                 ~...

                                                                                                                                     '
Case 2:19-bk-24804-VZ                       Doc 554
                                                504 Filed 04/03/20
                                                          04/02/20 Entered 04/03/20
                                                                            04/02/20 16:54:12
                                                                                     22:58:16                                            Desc
                                            Main
                                             MainDocument
                                                 Document PagePage20
                                                                   19of
                                                                      of331
                                                                         52


            (1·  1,. ;'1(/;t W, HtJ. ~1 :¥1J-t1~ l:3Hi!i11i~ 11-..;;ls:i~Jix ~-75 D~Ui17i, ~i.l:::1J, r,j:'HJ;[ ~f )ji:, [,
   f'.f-1-:r; A., ~id~1JHX: 1::HqliJ..:~1;t~HH 6.612'..~;c·i·I· ( I ~;ic5t,6.80itAr(ffii[$¥~$1:1hl·
    J-; 4..\.88 fln:Al( 11J ). ffH:J,4:lti~~z\'-Jci~if: :H'.ftnx.*t:!J-i.X~ l. 02 ff/;~ (b) *PM£~
   JIH i t.J ff Il -FN fr JfJ)-1;{~1111~~;~,~~ o<J ,f[_j, +fLl$ f'l:;/~111It~ o




                +. ;1,~ 'i Vi Hi J H'J: tx ;J/f{i [ }J1ri!-t#~ A<1¥r-l't~ i~ -Ei] 66.67%131 fl;/: ~:51.     c"tffi1¥JJN:;& ")
    Jt Lasy Go (J~Jj•;~ [J!,tJl'.,t~; Lucky Clover -fsH~~FRF.11 Easy Go 66.67%1i'-JffiU>l. ("Easy Go 1N:
   ;& "), ·:ti l Jf l,iJ..:~; lV, 4.4 fl~;i.: c1 ik1c!,?.. 6.80 YGA ~ ffii[ifit~Ht ~ ii}~ 29.92 iZ.Ji.:A

    { 1 • Easy Go IJ'.z tx.rl1 ~ii!ili
                                                                            * f.Q*
   t( m, r1(1 .0. x.J ff, , .. 3'l ~ m1ft .. ) mn-1151J1~ . :J:l~ , ~' 1Jcx ~ .% nli: J§ :ti- R1 JJx 1.:x. , '1 5t 1I: Ji M=
                                              *m JE}~fr         .X:If'.R:1J Fifi o           l:1J,ix%::n J§~t d3 ~ Ll:JJfcl1JU1t
    it ni11/.JHt if.'d ft . l l,f-. J:JJixl'tfJ-'t:. tx: l2A +ZJ. tL'.E t..J;;<,j 4,:r!t(x_ M ~ 1 l:fil);:-f-:;f1H;~111
                                                                                                                      :,v.111,Jt,'i: o

                <b)      Ii UH if~ (t :

                (1>i'-l·JJ ix~ '.t;! fJ .   j£: ilH~ix-t ~1flJ:tRl~:i1Hr:i:fftH~0¥:td¥RWJ~gURiJW~t                       (" ~Im
   iJW!t"). tfJ i I: h, t,J;fj(J i~ ,:;J , 5-fd!f ~i;-t~A f~iifx1 rt4niffd£H: ftttiRr;ta1to f'2,Mt4.-l%Q'.,
   ·J~ l.tJ,L!J1 . Jt• 111,i~ 8M Mf1J1.U l1·l** 3 Sf FJj~!t~1'YiiY11J1&.J1i           o




               ,i.~ ii: ~i: l·/J,ix. 'r.t ')lf 11, !f!H l: Ji, tif-A(Ji~nL ~f-t~'.3tt:~A f~iil: B1ti}11!i:w&O~ ~ 11HJ~l1j
   .U f/! (,h ~ti~if,;i,HiH:t 23 il;tAR Tli, ~o M3~1JW:1Jl.:ff1=filiii1 23 fljcA E( ffi !'l(JJUlh*~~i
   f·;: f,:r J'S-1l1. 8-t.~ Hl ,fl;hl f 1~'u* i,11~ 111 i1Hrftr iJ:, ~ !'a.I ff:\'!fX , ;ltft!i/i~lA~ff fnJJ3.x1=f f?! j§.
   (1i1, :,ri: ··MH£m*m~:ffdl") i'.J-(1, ~t~fii~=itt i 1                    -:1r, ;fdre:t~nlit11*t11'..:k-t£Aii-tB.ii·~t'
   ;,'if:,!! H. lt11 ll·t:l~HHM 5'~rJ ir~:Tltf:Jfl(J~i5C 5l:i.1:1J·nJ~vt~rt1JfRIIlfi!i{R, -t~O(Jflxt'.>lJ.:k:
                                                             1

   t:a:.y <il) ll'i hl ·"..l t) -<.J iD- jlHr -t!JJ,iZiJ,~ ~ , J(i3J JA~iJ:7'Jx HR1x ~Mfft rptr:i iJ~tUJ,:Z (fl'
    .,. .!. "'                           ,, (Ii 'r:,f·''
    A,      1 l(,f11J ~11 ·'· 1,- ,.,. !1.i
                      1' }...:J~',Ji           • /\.J.b/. ';;cf o




              ,~l        ~,: t.JH:x ~1. 'tM3.xJr=r , triiiil}I* 111' ~xr-1~~;~ ftJ!fi%flF.11111ftJl F, ~ il7'J Btii:
   1-- PJ· j). ;~~    2.01 ,)J~-2.03     Jxt{J,E 11 WJJi l]Aj)lfi·Wt'{)l Wi§S- (i<Jfl,~Wl .& it] f,f llJ i~ ifJ ill ff Hti'l\
      "11~")
Case 2:19-bk-24804-VZ                       Doc 554
                                                504 Filed 04/03/20
                                                          04/02/20 Entered 04/03/20
                                                                            04/02/20 16:54:12
                                                                                     22:58:16                                                Desc
                                            Main
                                             MainDocument
                                                 Document PagePage21
                                                                   20of
                                                                      of331
                                                                         52




              (a)     J,r; - rm 1} x ~1 x-.t 1ft 7-J M %- if~ :tl! im 5-} , -st Ll if 18J B 1-Jc,;: .i-q (-Ji Mf 1J fu IJI ..;;.,, 1J! 1-d1 (12
      Kij ,f 1lliii 23 1lJUd<; ffi 7.E ;}Jl.J!.A;!:~;jjj\1'11nxtx& Easy Go nxtxt#-i 1:lii L jfJj 1t !:1:1: ~ic
                                                     o

      16 91H~79~ ~1:1I B;};.tl=! i~ fft5JtfVi %- "

               (b)     tB -= ~5t ~ ~x11f1 7~1fJW,ULUll iftl1} , ritlri 15:i ;1- &1t:"2H* }J ~ *t!f::U~A,
      ~f-1.JX'.1IJAI: f:t>z.. t·ifJffJt -:}JJ1;: f-1i-rfM10t~ rj:i (1(J i1iVi} , H/J:;l-ht 6.92 1Z5cA ft ffi1LH11*/xx M
                                                             *
      x. ~ xt 11, ((J 6. 92 1l Jt A ~ rn " t1:: t·h ix%: n :t ~'X Fn r. j£ 1m t:>L rn11 t~ /rrtI ~-11 tc: t~ "
           (c)    !f/.ti.l:1f, Bd!.{l.j:;:J?i. A 7£!lt R}j1iff1iHfidA , r_j£WrniVi} "'J: J ·1~0ill G '.T1}f JR,                         un f~
      7-J~U::1J BJtnx:1::mn?: ~x11f11~<Jx 1J"



             J1J1>1-= 111'iXj;g 2.02 "!/!I~ ( b ) rDI10%-1ldf! , Y::1M1k£ irJ.mlzl.:J 1,+,Ui<Ji, -a-J (11tf 'i::':"tH:m 1c:
                                                                            x
      ~/i[7F Ji , ~ i l::1J~t- [l:ij,r~; Fli i~ .sJ MWt~1(Lf~rm 1t, tut ~~}JJ_ITT Hn1·fnj dJ 5Z: U::1i I~    x
      tff-D~ 0 iiJ 5Hr IVJiti'HifJJE ' (_QJ,fi ·fg;)'kJ!51 4.3 1l1cA ~ fli ~ {t* 11], ~.X.~iT 0 2 1' Ut n jAJ
      xN o



                 y!V- J=i :gl~i :     -l~Jl fi~J:f ~.=:_ rf§ -~-ti* tHRi~ r:iJ
                .:n:   ~   ,-             1- ·1n ..-,.... -a- --,i- , -
                                  -;-rc '-1;1] , -
                 ; fj   ·fr : -'(3<;1-dT _C;tu;:!,t:.·.,-·x          fT
                 ~~ -~ :        110 15642476000




               (b)         ?\- H mi ritEm~m 1:I~-'f;l!iJ(-t1-tr.i, 11-1 ~ H r_1 ff 1~ -t1=1(1(1 fzsJx ~ rni;x~l-=Ji(J,f'}I. <i r<dt
     ,t,~!J.l II1- 1f li!J. hf~tl If-tt'li>l J;-i'111stjl <1B~ ·1i-J~5IE1L~fS1f, IITl ff ~~H-ttn1-\:ffii 'X. JS-11-J IN.
     11t: Tiu li1; iK ~ti P. ri~ 141 ft< 11:il Jl: D~ MJ.~ 1IB 1J ITIJ.~; )•
Case 2:19-bk-24804-VZ                           Doc 554
                                                    504 Filed 04/03/20
                                                              04/02/20 Entered 04/03/20
                                                                                04/02/20 16:54:12
                                                                                         22:58:16                                                  Desc
                                                Main
                                                 MainDocument
                                                     Document PagePage22
                                                                       21of
                                                                          of331
                                                                             52


               (I ,1,. !,)J, i) ~~ iJ 1 1:.'i~)Fi i~Ji\l h ;;fs:tifJ ~x_;g 3.02, 3.03 ;Jp;;5cfiXH1f,         !fHI: )j.!:!X.*f~t}H;t@
  ·:i:. ,,x. <·l f,i,(l(J ~~ 1 ,J 2.3 fl X 1c.r1;!1 m1i{j r. ib13t9!1tii:.JJi tr o



                   (f {i: 1,/J, ix'{.\: 1f 't 1H1 PQ I- Ii. t-T {'[:: IJ I~, :j:~;l'l(Ji~ n1 E'Z ' 1'1 {L[ jftj Fi:llli ~ ic.~9l;k)Ff1li
    /i:. 1,l:e IJ \t f.J... t{; i l ft & l'!(J L rfli 1t 1!: H ic 'Jf-l,: ' tr Iit f# I NH ~ ]e X:t ·i~ JB ~ 'j}_ ,j:~ Er-J 0 EJ 1fr (( {1~ ,]Y-
   ;) • J'- F'r' ,lk 4tlWi» 110 U t:p fl ( 1&J1~ iill. 01:rJi~ ;;(£) @:ifilx~t:-M1t 0 nj o




           (I° {i: 1-fHil %:iJ 11:_ 'iXJii _-: 1- _L:11; El rJ~, ?5- h i''.Z f,~ff t~ir,',U;i -*tt5 JE:ijH'l-::X:~77, Lucky
   t 'Im er, ',f, t~·v~-l"~ A YGDx.h,;'H~ffJ:txzht1JJ-iX~iJ .&~l:3x , Jt,-:f !Jt:$11-JJ~fR!tt'i111), i5a·1.1 ,1JY=l
   1:U1J,J ·,·ci& Fasy Go IJQ:f>Z.'~5elf-ic.




               f?"'J: il: II, r,i='HK,rnf*ffiJEJJi;,~:XJf*1I, H ~171, *f!,il,'.~t~~A ~;f1J~1i.;{:l];k:Ji l;J1-1W} -
   Yl. f'U1· Ji iA nJ(l(JIH fuJ. ~ iJ~JJ nJ ~JITl B·J- l;JJ- 1~j- f_x:(1~1-T:fJ!! EJ(J fir f?t <tgr JE I 5%~f,t;fiJ;ln
    l·.'il~ 1, 1Jf1!l:J ;~il'th•x.1i~fflrn'.Hx <" §JWJ .,)•




               .ffiS.02~        4lj it i.dffl ff ffr ff ~'~El{]{;)(,/], f1,rXJ::j tiU J1it~4!;3( Nffr.f-T X M·x f!f:,
   1,ti 1J Jl (L ~ .. l,)J- ix.Jl J~ ilh i( ~ Jti'P!J!rl](] 5( %, , IJ,N,;(,j;)lrlWidlVf.(:Jt!YtJ~i}HL "fff-
   (:j' ·,:_ t~ :c 1'1-t:,/r.'.i: 'Pi· Ji:~ H JR f!P t~~11x)(,J-i~EJ& Jhlfr mt~~ -A-11~11 ;;x I LPAt1tJ itr-ni:rn 0{15<.
    ';S-. if: 11JW!l(U~i)- 1'1 .*Ji,Ht~fr.


               ~s.031.( :1{ i ,~ /.i (u1t1nJ ·~ ~1:irll!Jd&& f¥ iiE , 11i=ll:lJ:i:9c 13 MJtloJL 11&3ii'fs:: ~JiX~
    ,'l;'. I l t t I I: h (l(J IW.i£ (J: ,ff.)( jJITfiJ1J:;/').i'.pj~ ' (!11iJiJ& iEiif (l{j l~.i&
           I                                                                                            0




               ffiS.04~ !flj il: }j ),ii, &R·HJU!Y<'. 0 TI] :X·J* 11), i.5ln0~1.J 1.ii A{J HQ t"R$HJ:(l(HJ(i5CSZ:flt-:,               ~Ux
    !~ fl!!.rJ'k ti, IJi fr fJt 'A;W:J :.(   rx 1'1(111 I Int ftj:: .
Case 2:19-bk-24804-VZ                 Doc 554
                                          504 Filed 04/03/20
                                                    04/02/20 Entered 04/03/20
                                                                      04/02/20 16:54:12
                                                                               22:58:16                                               Desc
                                      Main
                                       MainDocument
                                           Document PagePage23
                                                             22of
                                                                of331
                                                                   52



      tX~f:lfPJ Jt111!.~ - }j,&;f:IJ        0
                                                                                                      *
            .ffi5.05~ 4{ i I: H Jf: t# 81 flsU)Ul~ 1t itffr f-f A , fiF 00 n.~,fX -L l:. i& N Jij} flfl W111 fj r0


               ffiS.06~   :il,i~.,,f~ rfJ, i>l~~ IJ, ~il: :jjlli Grtl1l:il:/J1&u-';~lt-i 'ti'.5'1,, t,f-Ef{J i~ nJ            +«
     (E 1f foJ D' yj§x 11J f~~ # rtHitl'x: 4f:i-i:x.' ,Hifx: !it ilJ :§JUlj A ;-,'J Yt.l£H~ ftJ'ii1f Jf~ ; t,J; (J{J 0 IiJ ;;fdti; &
     fl foJ *i:X., !it t;J;,Jl aj i:tfMJ?, fil:ti!ifr.!_ 7G llli-f {:ffiiJ iH i!~, frl1 1&, friFJI: fhl/-f, ~hi ;M:t~i1it/ir,,\l
                                                      *
     t4. ff f~rr t~~ : f,ii (10 i~ i5J ff - f .{1 (f. ~lldt~ (1~ Mi ill!* i?Hf M%- D~ 11fFm/0 1-: 1-.~ fiJ1 ~ (1{] 1J;:
      LI:! :  1),;1,4~tJi,i)(~!r/-z.1-1Alf,~ 1)-;1t::~tn0 L:i£t~t~~j(r rn, Wilt, frr$ji:, ff i&t.'Ert , iJsHri1H1~
                                    *
     M!i, -l-JL1f rn ht, Mi i0 i,'Ht gf :%- ~°'¥ , cb M~ 1'.10 i~ J f,"'l. 35: fii¥ ,}t, fl-1 lzsl Jlt gI ~ l)~J t,J~ Fl~ HQ-,l-x.J:
                                                                           0


     l'.J<J VHE & .JWfJH!fHz J,-L dJ H il: HiKf.f! .

             ffis.01~        *~~, '.>t N:fnJID-fr4i: 19} i>l 12JJx&J-t1i 1~- J1Jii1t411Ji.:x.+~ = itJx.I1x
     -JlU01!:ifl:JIFf J-tfffnJ~r, ro-tf=J:!JZ~lk % rt1111i:iJ¥t11trtt.m9JZif3£H~:m ~ .




               ffi 6.0 1~ ~ ii~ Ji 7'.11tU:ld& il Ji: {f ~~cZ:r:      t; (1'-1{I?: il'. ft A ,J.IAJ 1:-J iT 11: & Jill ff* 1JJ· i.x
     Wl!TIJ,Y.F1<J L~ 'JJ ::t 1*tit'1'1-lxfxt1Jfie:.1J o *HH.x~ ~ 7'J JJ::r~~1 tx., 1;tWJx X: H, 111J,N~J1x_x,J
     ';ti I.: }f (10 ft 1-&' ff ~'fl. J1: .f=!: N r--HR 7) (J{_/ 51-.. %- ' Fh~ X qs. pJ HH,!1 _;fi: r,JJ. ix n~J!ffd1i..1ill *'HA tT
                                                                                                                                  0



     ,5t:-i J~Ji +5l::M Tff1nJ ;':ff Ji1;!J11r~~f~HxAt>lif1JrfJf!&'.f: , •IU.IL ~ 7GtLUm, iJFiz~f~J:Y:fixJt
     1th iff ;JZ   o




               ffi6.02~ ~ffiiii1 ft<ilJI~ 1!;~~-, -J;ld·T· -1~tJJ-i.:X.fl',J-J":~t:X9~ , .'.:it "l17;~~ , Jill ff ;fi:tJJi.:X.
     ~~m&~~~~OO,W*~~,#~~~~i>l,~~<~~mm~~lli)~~~m
     mx f'Hl'-J{I fnJ ;i;.%i1: ,
                              ,1,~m&ff {nf~'f-l:X:11d¥E.x.ff{riJil)()f1Jitx, 7G~i:t&:R ft7'1 ~,::HA
     -)'=j CTix>l: z. ~tJ 51:n                                                                    *
                              (Jy ;lt111!.ff {nJ ~J·i5l, t!:!)F,{f-t]:~0- !;~ llfnl :!-UITHf tJJ, i.:X.X!H HI fi:iJ 51.. !h-(1()
     fi~ -JJ o<J' df}'.&~t §. (5j:l : T ~Mr.Jiffi,z~' f1l1=   J&WUUm r.ijy;!~TIJUiiI-'xf!:r:fr           0




                  ~ 6.o3~ ~ it71 J11 F-x 1-tx ~ x,J fftm --Afl,H!lH:Y.tL(:tn riJ~ {i}~(i)J;( 1t1t. ,f (Ur:
     :i:l11x. (1 fi:iJ .iill: JI J1t'f~!ft~JUt.!A!i1: n0·ti1iHJ, °7f' ~ IE! Jli:.i)lJ&M 0 fi'J BfJ1£1uJ~ ~!gTI.Jtr:x ff i~ n-J ,f-dl1
        [ ( ;;r
       _:       ~!ri ft''·
            nJ 1•-rr.        1:. f.T:
                       Z,.!J;J.     :o
      '

                ~ 6.o4~ -*~*f, xNtQJfil-fr* '9J-i5l Ll.&Jcl;1t1~-11)1Jt_;f-s: t11-i.:x.1,~ : .tt &.Yx-JL~
     (fl!l!:tUl:U>t X {t~ 1'1(] ;}:J,lli1: Ll& m)x§x:fLUiiD!~m f J-{ ff fiiJ Iii tr., W
                                                                                      -- lr .9Q,JJ1- *(lJ (1: fiif 1t'f !t1tJ-~
     Ex. if')( n~=n-iv.1 •
Case 2:19-bk-24804-VZ                             Doc 554
                                                      504 Filed 04/03/20
                                                                04/02/20 Entered 04/03/20
                                                                                  04/02/20 16:54:12
                                                                                           22:58:16                                                Desc
                                                  Main
                                                   MainDocument
                                                       Document PagePage24
                                                                         23of
                                                                            of331
                                                                               52


                                                                                                                             *
              ffi 7.O1~ {f: M · h i:E & ,is: t)}ix A~ ~JJE , ~i:i" x.J- 71 m: JiX ff friJ 1m :k , 1:)J J_i_Y. ;Jli ;!'Elf,Ht(]
  11!i"d~': ,;! ff. Jj: k: H ~.j Jiftl.tlt x Ha1 BMW~rp#1(± 1J~ s(] J1frtf iffv~ Wrn . *511 fjjJ - h:iulWJ
   U·l ff f11J /\1d·l .:0~19L U!IJ 1,j:j.ilttJJ - LJ • /\;Zlr.iH.J h5l f,J'JH{,j,id ,Jttr.Jn Ji 5-i- ~ 1iJl¢J fiJ -~· .




              (a)      ,ts: I.JHx. 111 . . . r,,z .,_ ·' J,iJ. .•1·1., J:)JJ'.1 ~!.111Mt.ti'(J, J:J "~,~.Jn" A { f f5J'.'.~f ~ ..x.; " nJ b:J, "
   )~Ja.o·,. (JiJ ' fr 1'.1 A {-j fX {R:1£ f1::')~ ' ili {:f1:i01Ui::f{'f:: ./'.IO J-LJm ·772.1~;¥1J, itHH!,fPJ IV,
   j dil.'.. 11!, 11J ~~-1~ fr{'.k , m: ti Ed}~Ji:'. a~ Cl I l.J {:Cf-~ Jj.

              (h)  I~ 1f1i ·• ;;Hnfi~:i1:!hl.iE 1it 11ff!.1'. 1-t=f-~~ J, !JJH iJd'.J'filfi~Jfd f'l .@.(1{_/ff M Jf~:r~, 'el.
                          ..
  -tM11 fl:r~ J Itu\, ,u r it ln~, 1-l! f 1u1Ht, r-,rJL~ff. 1r§, f~ ft,                          w..



              (dl     J·UJl:& "ft iJ ", 11'.i§tili~ t-hi5ll·i~ tf 1HViHfr9tl~fil~ Zl- h,                          tS- 1J1i1U-t Fl U1£*
  1-11- ix   u! H1<1 +x. ,¥1J 1J .:x. JS-fx fx*m -t-}Jun0, 111~o~JjA~u-:mt.11tJ~.t"V-Hf                             c1:i~n-1 ff nJHif11r ~
  ,( i



           (l:l       ·• i1M " !.'X "i:HMJJ-f lll{ f-" fXJE .:.'..H-,J~ZffJ, ::f/~H&ff#;ff7-Jll~ t1J, l;l{!E.9.IG
  HI 1:t Jt lri YU ¥-f¥1J itF.2311-J-t fili {-Efnfi:iT t~.JJiiJIJI!lxfi'lflt.sr.!)1 o



              (g)         ..   yj; fit ..   *mi'J jmj:GJZtHJ1J j_~J 11 r ,;j-: F}J, i)(.JjjJ r!f.'i;£ ~J'.J§1 (l(JY!1*   0   CE iM}l ~,: 11J•ix
   ·0 ::-:.1.2 ,;;~fiJd·ni;?ld ~--2:.YnEJidl: r. fL·ll& " JaJr~m rtH~", ~f-FfY.1x1·aEIJ t<JJ:Effil*
     ~111!. l >{_ 1'/ ;J, HU~ !{(f~r ~Jr] f!EFt ;JJiJ~ JlH,l,flj ~;)_:JJfilA(Jyt'f it' iJJ'i]JJi 1·1-1 J:tl!H jLrl~{JL:k ' gJ;i11x
  !..1
  rn~ ii, ,J ;J, NL )~!.')G f / Jf') HL A2 !<<J?rJijJ-IJ,f¥:/ f flj!Jit, ,JiJ1'1'11 R. {f,/Z ~ !!I?i01JUfillX :,~:®i~~J-]:F)_,{f n
  j~ t'I ;J.;j I' J{J ~u J (1(J ~_1.\1 ·;iI·t'l: 5d l ' xi:'t!:J-0/}frn ~ )'.1Yl~1-~'       *'f91J' t-mJ-E ' }j\!yJLl' {1(!E ' $4' '
  ...~ 9t!.. .ilii J;IJ!..'X ){ Jt iili ii< '~q;yJJ,~{£ ,;j,: 111· ~x. ~ ~-n-,J }fl ,F:1J!l'.3klJIB, :J'j~fr _§_fl_ 1T ~cjJiJl'tl1tW:f0
  ,k 2. ~'{ ; 1 . jj: f.:!.1,~ fr Ht. HL1-: + 11,t n'iJI"11i ~ fi'fu i'J(11JJ~ f,t if ~ ]}x +n-Hit i r Fn H!il ..(1 i ~~ nfil 1
                                                                                                                              inrJr rt f ~ •
              ( hl           ·· /,~ ;J( ., ~ mfr 14'tl;;t-x2. ti~Jll l~JW ~J FJ il~W:!'~ )~ fli:Uf 1t & ~~14i: tL /~& tlJ J:tg#,1J 1)(
  !.'x. I k',1.::    !.'X f rtiH;i; bl~ /1!1t&BJ !{(* l·JJ.ixtf.J1EmAt3ti m A0{rl• t.&thlFi'"= R?J~1*t-t/~tl\J:fu{ !1t&:'/&           1


  ')!

              (i)   J-L-tJUx "iJFii~ l~J( ". h~ Bts1;iJfii~li!Y R i'lj :r&JlflJ-t. JJ~r1-,, iJii!.H'Eft=,~7.i:LJi!i
  J[IJ 'Ji i)Fi1~. L\'; ·Jrni: iL~ & h: iF'J iJF~~ ; N1 t&t-i1¥ JiY-i:!1:J\Ti~~"Z;/J11Hi\t ' rJi IJ.Hl1 :hit ' f=itl µ,T-{Y 1=1&~ n-
   j~ /1j1 t1~
Case 2:19-bk-24804-VZ                      Doc 554
                                               504 Filed 04/03/20
                                                         04/02/20 Entered 04/03/20
                                                                           04/02/20 16:54:12
                                                                                    22:58:16                                              Desc
                                           Main
                                            MainDocument
                                                Document PagePage25
                                                                  24of
                                                                     of331
                                                                        52




                    (k) fL1!J-J:lfffr,J _(iziITT»J&*, # k 1J,'.t_J:-f -JS(, !.!.Xr0Jtv. fEli'.'iCJ: ..!-:.i II Ix;;&·/ ,f - :¥5.L
                                   sc
     :l:)J@ ~ J.:. ' 1TI.x •ti ~ '...-J'. 1g <W .
                          1




               c1) nti& "o ", ~m--tumu . JA~u.1u·HRJ,lt/J~.8Jl~f:iitit, tftl 24 ,J,
     IH /.J . D O nm,& "_               .[ 11=: IJ" E,X, "1,\,'~k u '', ~U~ll8i 7 JE] ;\' ml uJ?JGr1-,i~Ah~::t{fl][.li]D:(Jt
                                                                                                      z.
     11!!1]1 *TI.x:1:1!!. IK ~t~M FJr~JH ¥t.~ijHiffJ ~7'111 El, fl!:z Fl J~ f* ,\s, l=J ~,11, LUriJ - Fl Iix ~Flo [1~U:.
     -FJt !111-ef Jf ;R j~ , ~IJ ;;ji: tiJ, i5U9(F ff fiiJ tVf-1J §JG ..'x. %- nJfjHff~ :nJUill ff 2- El 7'1 ~ F- 1:11': l=J , IJ!IJi~
     r9H:lUf Ll !1X ..'x. %- Jil J1IJH! 3I i.t rl 2- Jci ~1 ·,t i:fi= ll 1J ft 12,\t Jfil ff o " 2- Fl " 1!Ut1i g§ Fl , " 11 "     ,x
     J~tlHh~3 U z.~~ Do

             (m) JLtJVJc " Jc ., !!JG " Ifill .,, ~ m•Iilf A t(~;fu !Til ilTIJ=           IHt ifi AW iTi Jr; o flAJL&                   "*
     Jc··. ff:. m1~ * !Yr fi-A ffil tt ,.ii jffim t~ rn o rii~t:aJj rif1·1 t'-J ~ 1fJ:11 ~ ;c1ix. }Umt-s: ffi, -1~ t/} i5UJJl r
     ilMM~..'x. ~~@~AR iTi #ffi, ~~& ~Ho

                    (n)       FIAJV.it " i:1:i X ",   @ ~·~ '-IJ Li~ A &\;;! ~ ;fu ~I .k llrHl!!. IK lm J+JrJ(J 1.'f-a 1-l:i i~ A RA ;J;U ~
     ~~ffi~Jt~rW~~~~~~~~~ffi~Jt~~m~M~~#&* o




     11hlE»
                    (a)   *l11-i5(J}Jil;.-f~1*,:f§ .
                    §x tt1m *J?x.liliJX «:il' nCT
                                 !:El
                                                        1~. ,        (i) #Jtf.f fiif "I'· A rmiL i:'.!.1'i!'i «'1 1 f~ A ~~JHilltl~[~Q
                                                                >> ~ .!'.l1n'-iff ft t.iE:m-n~txf~ -~- . i:~A :-I:, ti. ti ',5·fL -=f     - +n
     -5"11.i:?,J?x.:Jt1m1ri*155{, ~JiHJ:t.tt , JJ,0tll!.11l: , ~fj~, ~!~·;,:f~L~-~: (ii) ,r)iJtfffoJr,-i.f":1f11 ii" ,
     {¥~*: f~.'~, -cHfijt (;-f1Jt.:,t ,;jt, !fti'ViBHU;L t?t-Ttl* cknow-how ), iflHHW!i, ,1z: iRi :JFit ~I·
     x..·''IJ , ,'·,(AhftUl'.l..      /."- ·"· '--,:;(~
                i.E 1111:li (J , 'tx:2:                 +l'- ~"
                                              )1;:,..- 1x.rft,      ~ 'J , ~tL
                                                                   '.:,c~.:  -;T.·'j-1 , i:o,- .H'c±l ·
                                                                                          nidS.!l-(;if,   LB-fvt,
                                                                                                        , 1.x...     l -1- ·~t:>1J !J..!
                                                                                                                 ' ,:1JT1x..,       n 1·tn 1 1
                                                                                                                                         .m'x.
     i.i-:loJ, W~%-ftil-fiL~.~·f =(iii) JrJt-4s:l11-i5lJJJ(Ffff5J :rJ~.r~1Iixx:~fm~ . '8ti&nirJVH~fiel!, Hsi'R,
                                                                                              *
     .'11 Tifi' ft iS( ' }ilHH ' 111~ f~:' f~ ~I ' f!i lt ' '.k ~ tll-i>l ( '8 :J11i 11H5( ) ,hfi'it' @i;~' MMi'
                                                                                             t*
     1s)1-I-- 1-n;A , :xi~~?} ; <iv) J:. j£ f~ ,1~. vx J=t1mftL@!.. J:r B *t. 11:,ut ~H~1 J,: -tll 1Jlli • IIx c #Ji H~
      Ut "f~H'i'.i" 'j•:ff , ftL~-trif:Ji:-f l\r,{:tT, 0,1 FiixtlHIBA~ll~, 111#-WX: 0 Jl§X #Jl1l!:!.At11 ~ , ~t·
     .t-.tf~ ,~J:H:f7'Jil!i:J&t.5:11H~         *,
                                             f!x.ifr1:&tt1t!r£ltJ(;1'f~~111~, vl!Jfi;JJJx..tfs: l)Ji5lJIJi"r f¥lr{f§ .Q. o

                    (b) 1~i =II~11:ldli.HM IJ.:li w~ , ff: foJ -iJU:1 , ti ~ , f¥ # , ff m, u i1J Ed tn~ f¥ &: ff-La. -=ri· ,1


     HJ 1~ x t-           *!IX~.3 1~1 ~.- mJJlli • ~ 1P j:t ,1' im -t8l it';; , 111t fl~ p.Q MdITT A j;u H.1~ mn~; 1m m
                                                                                                             0        1J~1H\i . ~
     rn+tUIMtW, i:i] ¥i.~BX1Iif1J{)L~~*~'1ij..f -f ~t&:~~. 'G.tiliHHl~}Hr:itrm ~n lti!_x,iiE1rx ~ffr
     1~Y!~ rr-11 fffnf 1:I 1-:Jl)[ff:f m) f Jl'xiiE*~ ~ fiJT1Vd;.; o J.:r '}}_ 1 l:_5!f~Hi1J~1x~\4, 1Jl%- /J@ (1:Jt )J f:iJrfm
     & 1r.Jr:ifl)'J-Jytf'I! ft i!f W!Jfil ll9 , -=r-f~: I\itl:f l11&hltTJU {r:flliH·tfnJ r~ . .!=j ri J: f~ ),;]JJffJt1r!it f,j ,
                                                                     1


     J1:~Jk:J,~1 :1Jx-nrr-tm~~i 1~ .€Utl: ff f~ 1: f-t!itJ:IIL rt ,m, .1::13-'GJ1x* ~1- iJlrffir rix'.>( M2- r=i n~,
     - Jjnf ~,~t 1:i *ft,~. ltJ lt~:lrf 71!iJU:t11tW9i foJ, ~H 3)-/e:,I f,iJ~1~ J.J 1 fr fJlt~Jillfr .J:Jl ~\4, 1HW lifiJ f~~
     !fl ,1~,t~,:§tHJt-5J'-?illlh~, :flJl/Ji1J1:~.iJ:1:K:ti1 f¥'·&: ..'x. ~, it~ ..'x. 93-JtikWiJf ff J.:. 1 J,1§ZlJ11H\4 Ji
     -Do ~#. ~1J~~N~frM~~n~,                                               ~~~JJ~~m~*~Q .


                    ~         *#ffffW~~,B~-*~~~*~~ff0 ·1J~n~ft~*~·~W*~
     z.11,J c~ 11J i; H ~Jfijf!x ~ ?1Ji.i~lf ~H~£1 ij~i; J i:::1~ ,tJ v-=1 ~t r ff H- -1J_g.JZJ-t~Hx7J . i,JGJ:t
     l)~1~fa .~.~lt!*iJ,'if T f+fnf *~:tr4=_7'J , !J!tlf~ ,~.j-Jt1':J.JJfflH#f§ ,1~, /ri.Wl 1J~ :-f 7*:Jl:l f*l; iJI ff .
                                                                                                        0



     19.~, HfnJ·m Jf3 r , ff M1~ ,@!,=f !E. fX. IJ~Iff FJ:J::IB,twT ~,1,;ij~J1H~ttiJ.r 11 iliitr1 iJ, fE;;/~rJI: (~~ J,:
     11Ft  ti 0
       ·- ,t.:,.,
Case 2:19-bk-24804-VZ                            Doc 554
                                                     504 Filed 04/03/20
                                                               04/02/20 Entered 04/03/20
                                                                                 04/02/20 16:54:12
                                                                                          22:58:16                                                        Desc
                                                 Main
                                                  MainDocument
                                                      Document PagePage26
                                                                        25of
                                                                           of331
                                                                              52




               (a)         lt·JJ-ixff~Hil:,i:1 t*APJZ~N;t:ilft~A~JG7!f,:A~+&/"izy_~:~ ( "~:!!" ) 0
   JI   ..1t iili: ;, ii· 11:J{. '1-. ,~z,

                                             r
                <b> ~ if -rf ,1.: J;JHx.11:?i' .!5"i~1L L~n*:J-g:J=t:it4:Jillff1fi\ 1l<iJ..-*=tJJiSl ~ 1n'£;.ts:·l~J
  , ;(At 1, f{J ;i.:: ;f.; ,;J: Jlz ;ft i;f: !'1:J +x:f1J, ITIJ k2: It.-*= 111'i5e-l-: jJUfi m1 ff ;.ts:t/J·00 !1.l -F~ri-ruk 11-Jiftx.15-,
  Jli.t..•,l ··i ii 'I'" i~l ?!-Joi 3f..:/f!J~ 71. ;;';ff IY-J t'-] YR , :it1~ :J'i-UIJ .t1:ti~ 1 1~O{Jff 1nJ¥k1t VHf: . 1')- /J" foJ fJ-: , 1:E
   1, 1-11. ii(·~~ 'Pi- vi!)~ t~1; '!R i; ~;;: ~ixJ111 ;;t. 0 r;t 1rr1 :::Jcrt,i·f-U& AEJtJtN:txfVl~ A1-t::J-= , E!JZ~01;t
   ;~ ~,~ ,1J11H ~,s. ,... 11g1:~~~ 11,{rlciJ-v mi'fi:, Px.#1tJift*A*~~~*inHf~:il.1mA~* . tix-t'i-
   f r H ·:.~ f A F ii: '/ll·f !.!X:i~ ·/Iii~~ t1~1!J t'~ 1illtH.x ('H·m Jf~.P.f::f ;;r~u(<ipf~~l ~_x(J{J 1 1::{'!I. . fJ: fnJ !.-1*
         -''f·' (·J d,t•,(lflJ/t.:i't
   JI·)•Ix.,;.      .. ,•, .. [:A',··'·         11·· f·• ' i~' i ,,...,,....,.
                                                              j·               11·/\:=?J/,.f;:;1~ -.~~+i17. ·h/1 1-':.E A ±-;t-t;-+"'-l:77''·~·
                                        l · , ·-::1L,1L·1~--c<1, .~ ;'·, = ::"L.,,TTJ n1b1l ,f£!.x.1.xii:;v 1\ , ;'t~     .,,, 1k1:X1:.x.. if/9 ,,
   1111 ii 1.<,J    tf,. tlJ, ix 15()11ft: IB (J(Hh50)J/-:J5'c~X    o




                   (c)       +: 1·7Hx. 11:§'-~1')- /f ~1-~·-r~+Mf1~2Jl~~ .. 1JH§i - ~&!R, !rHt~W IJ)Hfrn,n: ·IJJ
   i 'J... H       +: j.JJ, ix (J(J i1~tYi ii 1-.J {-f ~& {'fiN-4~ 11} iS( {Efi:rJ- /i:J',~U!]TI:t&,lQi)'f:ii~Iixf l ~t~Jf , )Ng
                                                      0
                                                                                                                          11


  H H~ +: l·JJ ix ff /11J ~fd;l(!c'.lW~~HJ..!iff 1fitW-ti!ft:£c1(11l{llfc, 1tJME..lG1111t&:Jttft~1;brJWcx~x!.!x~-J·
  ~.!t fr '" x~~~ "), ',l,1 ~;,(,J-*t-JJ.i.x ff friJ%dx:sxrn: ttW.:fff~i:& , ?r-hJiEIBH:1:ifH~ ~J,Jij , ~1
  11~ J-:. f'1' ,ir n ~ -1.: rJ1,ixL H~ ,1.: n n0 hJJ.,1.: J]U!tl , ;P~ ~tcfJxJ~2Jll:hl1t :, JA 1fti ff 1-\i;.ts:tJJ· & ,11rrr
  111. i z·FJJi! t:J, JS<. -ri- Ii tx ,f1J x %-H~fii).: lll~J!tt~tm *iJri>l~~ L tmJittJ1:t i·l·JWjcJ1x.~~:f~ o f r
  (1 tV.;h'l::;;i.,cJ(; l·fi. <JS) 111.-:Js1kJ , 1')-h°fJ1~i:l~JJ,.JtlifH~11ir.scitrilt- f~:KJ:!Jt!. , V!'J =




               (cl l4,;: I.JJ. ixit h' flii. J-t- n t..!. fr i.1HF10 1'ii).: Mj Jit!: ~f j:j: Jill ff 21s: t~i,   ix~r»ir-11! , 1;i IJ,1~ Hf
  Jf;.,c $'I·. ls: 1-JHx. lt:i'i ~ Ji ~JJ-iffi - .fx+1.ij~ J.t:

                            (il        t,: IT: fnJ fr :,::-H-~t'.ilO(J f.i;Jlji , 1:tditsiJG frJi i&:Jif 1tfffrit!:J:R Yidtt& ,k ~ 111· ~x~
                                       t-;1~~x.i-fl~7Hid'0:::Jc~~ ' f&:HiXTii!!.X:~.:Y:-tJ,1,ff ' _gJU1~··(ffirJi&fHfl1rHJt,£~
                                                                                     *
                                       II: ~i: PJ-i:x. ~ ;~ilDx. ;1Mt *- J,i,: , !J!IJ IJJ,i,_xD.xt-fJ / ~kb,:J.0. ~ §'~ 11: :
                                                                                                         1~




                            (ii)        f{ ff: 1nf- Ji t''- iJl it J.x
                                        ~~~k~m~w ~ .
                                                                         **~~@§~~
                                                                           i-X t~
                                                                          ~J-
                                                                                  :
                                                                                      IE ,    ~ rj,pji: 111· ~X tR,1s: LI   f!{J :ic YE :::i~ :FIB EJ/:




               ( c)       Uf·l,1JJf~ F, I)t ,tt'f 11:th·i..x ,~{J -ir B 3 lwJx,t Jr:& ti:\
                           (1:                                                                                t* JJ:JJ:!lJn, JJ.ll9;n :t1.z.-e
  11,~ ,!, l·h· ix l!!lf r fi- 11:
Case 2:19-bk-24804-VZ                                 Doc 554
                                                          504 Filed 04/03/20
                                                                    04/02/20 Entered 04/03/20
                                                                                      04/02/20 16:54:12
                                                                                               22:58:16                                           Desc
                                                      Main
                                                       MainDocument
                                                           Document PagePage27
                                                                             26of
                                                                                of331
                                                                                   52




             rSi~j::y,/J~h!~~!J:H-Jt;!A!JEii.X4: 11),iJ J·Hf f~:,t , ~111-EM- H;r,nft , !!X..-kf~~hff, l&
                                                                   1   *
     fil.iB h ff :Jt1'£ A~ t!JiSl r B;ZHH1.- f 111, i)( m1~9!t-=r-rt11£1ar tR.:fLl , ~xJJ Bx iHft n iJ1, ~,ttJJJxit
     }f n$Cft ~:~BX1f fi"IT J=IAfilf.X.fU' tx ) J .9.XH:f~ frr)J . fffuJ- JI JJ)(ft.Jtf4il1H£.:f1J ' ,f,j:iJfi.lGJ{x;J
     ~~~~m~~z.~~ ~ ~n~~ ~ -




                 (a)     lft-~I= 311Tr-J JE , f~rfT ~ !VJiJJ!,lT mi~a, iJ'f:;R, tx.f1J-r ~~, ~*&Xfili f,4 ,Q, ~
    Tr_   c"ifil J;1i " ) •   :!:)J$ IJ_ -=i,; iIIi lf~ :i:t fttuH , :n: l:'.J, · vA:ial x , tit iffi Rll 3)- , 1b' li , .9Jl ff ''j- u111 n rnr1
    '6't HH-Ut ~ ;J<: !ill tJu 5(: 11. 1~ ir ~o J.lt, tr ft 77 t:!7: mrit-d 1deH9tl !lxu11 x ~ ~ Wt:iffi u 11:! f .ifil
    itl 1J :i:~:itl:ff ifil~n , 1lJ~il5(:7Jx1 !lt:!f :Ji:Jr- iSl , Y!Ll it/tq;iffi ?;O$ t~ ):J ~ -=I~ ITfi :i!H f-[1 ~ f=f l0HF-itHt
                        * z.                                                                                n,
    it. J1 • J~ t-h iSl 1J u~ , rJrm ,ti, -=r- jflHH 1J:it , ~ m1~111 1-11::r- ruB =1==-tn ~ ti z;11 llll mt5t 1-&
    ~5. ft .1~ " f~ f~ , QQ BX SKYPE ~ ~IHl1 if1hf-t 7J :rt f(; iffi f~ }~,~ ;& H:Li@ J;II • 1H'-J JE IV- r~ T illi iH
    /J :i:~ill ff jfil 9;n ' Y     !U t~ 1151: h $ ~dNdJUit:fif(1-"3-fiifgJJ!!U=t ' fj iJljfil f-LI fm tiJ~ .& ll;Ji8 :it. JJTI9in JN ' 1'1
    1,i:jJf E1rn,1,()- H -r- .-1i:: tJj, ix~~·1f! ~rt~i!Uili1:u::. §JG ~1,ix~ ;?;- J§ ~ !EJ:ilitJl , st ~fl M - H ~,1u1l.
                                                                                                                             1
    t:J11,'tifffi~~JiliJJL 11.~~~~1n ±iliJJHtn a,.t:iJTI~n7 Jtft!:.h . fl: fuJ :®r.11Y-0B ' '1Afl Tif11ftr?W 111-iJ
    ~iJ.Jli 1:J.J ~ , :tcnx~::R.&~fl, W,lt 11::nJIII{, l;,t 1+1:X: -=!~ -~ . ifil~ll7ff 7gfil ~1~· 1J:fLI:·, l>J@. ' 11P}Jfifu
    ~JH'!: JiJr ~&Fl,J fi'i] , !l!!.lL ~:ii, 1hll~I, f}:cl:& ~1i:W ~I-, :i£1'1Z3 ~ -frJ~I ~ :htJ1d!UIJJ0. iJH1~1 .
    ¥r 7-J ~ IE jffi t 11' if fY. :t~ :I\ H 1¥ Hh; DJ(fj!Q ;Ji!£ •

                                                                                                                                                         ·j

                                  (i)              -¥f IV, rtJ.-=f·illHfl:H:it:&~ jEi~n, 9!1J:ifil?in ij_ rQ. 1'- illBfl:~i1r,x;J)J ~~r,Jt'J. ~
                                                   '.& ~ ri\GJJJ:2. nJ I~ t~ Jj 1=f ~X ~ :i5 :



                                  (iii)            :f~ ~tl~J,aj-fil f'1: :& 11 L yJ1J.{£ i -aHH ( ~ 11mTiixJJ_f;:E) i;;t(~   l:; I I t!.e?:.r 1T ~'X~
                                                   )3 ;




                   (c)          mt L.i& (I fiiJ-1    .i!:iEITIT i1 , tHJ1l~A f t~7'J:i3~ 0 .L t'l( H jjJ};1;n 1xir Ajt- 1·!1] fifi1
                                                             111

     ~;J~~~ il.Xflj 1x:~illi 1-11, yJ1J Jill tnJ0. i}JE )~*i8X5 ' xY.1I Hi.Ji. L~P 111· n:;i :THiHJ JEi!lffr .&:iidfil 1;11(" •ft.
     'lx.iffi 7211 "). ~ 1.x.i!ft~;n flj:ili:J=li J_-_ :i£·t~1~~0:t!Al91tl . mtff ·:im ~11 1r1i ~ , ff IJ51*115t:!JthHJUt!!.
     !11: ~F J'Oi..;!&1' i!Hfu ' r1 fiilll 7-11 /F fi~J!:it ' g)V~ ~:illlJ;ll a r?:ill:it' f1-Uttl5o)·51d?l lit t~1j'>('
                                                                       z
     !zl:J!JLITx;111;-l.:iffiJ;11 P'.I :&: , ~ ¥-.!£iffij;11 B r1~*H~~~l,% c··Jfil9;n:id& "), f:Eft:11'>c1rlli~:tti1.::, ~!1J
     J.SSZ ri3 f~ tl)C H Fl ff itUE! ~~AfHPi~ : 1.:7 ~ 1BH11 V~9llc ~ flC&~ h:t!n Vs:: , '.&~ Ji {Hx #JtJ.IVA f.t 1l$c
      • · 1::lt
     )J   -;lj··iJ3.111'Y.f•:!:•,I~ z1
                 ,, J· llo .,., D.x. 1' ' f•:!t
                                           z:: o
Case 2:19-bk-24804-VZ                         Doc 554
                                                  504 Filed 04/03/20
                                                            04/02/20 Entered 04/03/20
                                                                              04/02/20 16:54:12
                                                                                       22:58:16                                                Desc
                                              Main
                                               MainDocument
                                                   Document PagePage28
                                                                     27of
                                                                        of331
                                                                           52




              t'i +-l·JJ. ixfl f11f ~ ;f,XriJU!.\!)-i{ {HIM 1=1nt~~}[XtfJzt1i,7g7e~'.XD.X:~~11JtAff , IJ!tlii<~~~~!:'X
   t~ ir.: r,i( fx(1: ~ "/f, Jd.'Z!:>.x.:f "aJ:fft ff (i:J:ffiff;J 1.J-J x'.A1 , ~~ftl~1},f [JI1lt~r1H;!J111~, !§7.~{J~ IR it:
    1~ {1 ~J( ¥ t·JJ, ix ff fnf *#x (i: ~ -1' n'J r~t1i 1K JG~:z11x:f i'iJ;J;1.~1r , :f ljlJ$nJ:J:t~ti-=,~1m f-i'J iiJt ix
   11-1 n:1u. i 1} ~~ J1. Jt ri: Jtim ,,.Ht~~fW IB: iJ~J'Y-YiS ~H~!< Jlttf·. 1-f ~#I· ~f f± ffiJ ~tJ.:tJk'.lW.J-:17d'X
                                                                                      C



   :{ ,f ~ 11f 1J.t 1r . {I1,r'i:!~ Jt if[l1tfUJIJpJ'; 1,w ~/'.111 ~XBJ(nJ:JAfr , IJ!Ui}~f %tx@-r-1~Ii"k 1J\~a: l~il JAJ fj LJj
   ·Ii· ·it fi'il1~ l'J, f•.l! JHf ,~~ Jt- r1J -tJ.t h:.




             ~..: l·/1-i icWfi J.d Cfd~, t,tt: ~t~~, :iffi1;n %ix, t:Hi!iiz~1~Lf:n1i'i.x.M,k%-i;\x, r.ott-1!
    ~-~ JJ L H ([ ft Jt 1gi tdt . -* WH.x. ~ t1i3 01,ll iftl '.It ) :Jc                   ~..z ,
                                                                        t1.ttfiHr.1i D.X: ti J t, 7G 1;t; 11(,Ht t~; mM~
   1l1 U, i 11 ,~,~ J1 . i~ ~} ~ JJ.: 1TH1H.:t ff ~i .




                                                                                    *
                1..: l·JJ ix I I1 . fr: fi,J ,t,ft,Wix J-.1 ,~J i1TJ11JI, :f x,J NJi..x.1f fiiJ %~:tiJ JJx,o:f~ ~tf.ixfr#:ft, ·IJ.!, +
   {,J 4'fi' f-f (r f11f :t Jt/':'I: (E fnJ ;;1i111,1 .




              j,. i.JJ,   ix JI J'1  'f A h': J~ ,fn IEHill JlJ rm 11~ ,-1, x -1-r!._j' f(J¥ ft ' mtf & JfiHf 1fH - h'J.)j 1iJ
                                      1
                                                                                                                     O


   ·i:.t ;f I' l ,l,j •JJftfJjiy.17.\/:JUt!df: (11fifi ff 5ct- . fR.h!:, ;1.f f1{0Jj{1ilii13· tf Jt-*ZX)( ~ ,,js: tlh~ m~~
     ,( ~\~ i( ;z(( IPJN~.:i:t , ffiffft&JfJHri:tf~L1..1:&:.1:1.:i:1°nr11 ~ , :f- f'x:, ~:~Jt1-r~'trrJ~, J:'5]
    ,;~ u, 1 1... ;c ~..: iv ;rn"
             1




           ,1, l·Jt i ~. 1,. Pl' ixJ~i F f1f f ~RI, ff iJJ, ff J:J:ex:.t:t{I, , t;l/x e- 1J Cf--1( 1:JJ-iSUw ~- ~~ f;i~
                                                      11


   U f;IJJ{ z ~)- . t:J1,:z·:J: 1Ji1~Al'.\;Jttn1·1;J~l1Wr:.:'tf;iL ffHl~H~~frtinctilHrfil¥:ff o

             +, 1·/J. i).J i! F1.2 'U f: fr.if ''f.1-i,_x,
                              1                              (-T: fiiJ -   /f HJ {f ,l5t_ jbJ .,j..: l:}J, ix%:~ J:t!r{-dJt;HX)d.\;11li3H'i:
   ,WiJ~i}~




             +-   l·JJ, il ,i= ~, :Nm m· , ?r- JI ft tA ~        o ) ffr , J~ ;j~ n\ c2 ) frr J.J:J T if; d~'ll!k 1fr- ~ cYIJ ·~ ) ,
   1,i (~t J;;JJ I. {f iuJ ';'ii:~L'f lt '~Z )1 o




                                                                              ...
Case 2:19-bk-24804-VZ             Doc 554
                                      504 Filed 04/03/20
                                                04/02/20 Entered 04/03/20
                                                                  04/02/20 16:54:12
                                                                           22:58:16   Desc
                                  Main
                                   MainDocument
                                       Document PagePage29
                                                         28of
                                                            of331
                                                               52




        l[H l         :




        f:t r,· 7·-
        ,. •• 'W.
                 J:




        I!H j)- :




       HH S'S- :

        A'',·   'Ill )'-   *<12
        f:t rf J : 1't.:I


       J.,•1,(',' •
        ~t      j!. :
Case 2:19-bk-24804-VZ   Doc 554
                            504 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                        04/02/20 16:54:12
                                                                 22:58:16   Desc
                        Main
                         MainDocument
                             Document PagePage30
                                               29of
                                                  of331
                                                     52
Case 2:19-bk-24804-VZ   Doc 554
                            504 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                        04/02/20 16:54:12
                                                                 22:58:16   Desc
                        Main
                         MainDocument
                             Document PagePage31
                                               30of
                                                  of331
                                                     52




                               EXHIBIT B
Case 2:19-bk-24804-VZ    Doc 554
                             504 Filed 04/03/20
                                       04/02/20 Entered 04/03/20
                                                         04/02/20 16:54:12
                                                                  22:58:16         Desc
                         Main
                          MainDocument
                              Document PagePage32
                                                31of
                                                   of331
                                                      52




                                        Wu Meng

                                           And

           Shanghai Zheyun Business Consulting Partnership (Limited Partnership)

                                        Regarding

                Beijing Dongfang Cheyun Information Technology Co., Ltd.




                                Equity transfer agreement




                                      June 30, 2017
Case 2:19-bk-24804-VZ        Doc 554
                                 504 Filed 04/03/20
                                           04/02/20 Entered 04/03/20
                                                             04/02/20 16:54:12
                                                                      22:58:16                   Desc
                             Main
                              MainDocument
                                  Document PagePage33
                                                    32of
                                                       of331
                                                          52


                   Beijing Dongfang Cheyun Information Technology Co., Ltd.
                                  Equity transfer agreement

           This Equity Transfer Agreement (hereinafter referred to as this "Agreement") is
      entered into by and among the following parties (individually referred to as "Party" and
      collectively referred to as "Parties") on June 30, 2017 in Dongcheng District, Beijing,
      China:
          Transferee: Shanghai Zheyun Business Consulting Partnership (Limited and

      Partner) ("Zheyun")

          Address: 4th Floor, No. 416, Zhoushi Road, Pudong New Area, Shanghai




          Transferor: Wu Meng

          ID No.: 14237319730105507x




          Target    Company/Company:         Beijing    Dongfang     Cheyun     Information

      Technology Co., Ltd.

          Address: 7th Floor, Building 1, No.1, No. 188, West South Fourth Ring Road,

      Fengtai District, Beijing (Park)




          The debtor of the loan package: LETV Holdings (Beijing) Co., Ltd. ("LETV

      Holdings")

          Address: 1102, 10th Floor, Building 3, No. 105, Yaojiayuan Road, Chaoyang

      District, Beijing




          The creditor of the loan package: Taoyun Capital Group Co., Ltd. ("Taoyun

      Capital")
Case 2:19-bk-24804-VZ    Doc 554
                             504 Filed 04/03/20
                                       04/02/20 Entered 04/03/20
                                                         04/02/20 16:54:12
                                                                  22:58:16   Desc
                         Main
                          MainDocument
                              Document PagePage34
                                                33of
                                                   of331
                                                      52



         Domicile:


         Actual Controller of LeEco: Jia Yueting

         ID No.:
Case 2:19-bk-24804-VZ        Doc 554
                                 504 Filed 04/03/20
                                           04/02/20 Entered 04/03/20
                                                             04/02/20 16:54:12
                                                                      22:58:16                     Desc
                             Main
                              MainDocument
                                  Document PagePage35
                                                    34of
                                                       of331
                                                          52


      Whereas:
           (1) Beijing Dongfang Cheyun Information Technology Co., Ltd. (“Target
      Company”) is a limited liability Company established and validly existing under the
      laws of the PRC. The legal representative is Peng Gang. It was established on May 21,
      2010. As of the date hereof, its registered capital is RMB 11 million. All shareholders
      have paid their contributions. The Target Company and Easy Go Ino. (Cayman) (“Easy
      Go”) jointly serve as the intellectual property holder and operating entity of Easy Go
      Car Use (“Easy Go Group”), which is the e-commerce platform for providing scheduled
      car services.

           (2) Wu Meng (the “Transferor”), a Chinese citizen, the controlling shareholder of
      the Target Company and the related party of LETV Holdings, legally holding 66.67%
      of the equity of the Target Company.

           (3) Shanghai Zheyun Business Consulting Partnership (Limited Partnership)
      (“Transferee” or “Zhe Yun”) is a limited partnership legally established and validly
      existing under the laws of the PRC.

           (4) LETV Holdings (Beijing) Co., Ltd. (“LETV Holdings”) is a limited liability
      Company established and validly existing under the laws of the PRC. LETV Holdings
      is the debtor of the package loan as described in Article 2.02(b) of this Agreement. .

           (5) Jia Yueting, as the actual controller of LETV Holdings and other related
      entities (“Actual Controller of LeEco”), directly or indirectly controls including but not
      limited to, LETV Holdings (Beijing) Co., Ltd., LeEco Mobile Intelligent Information
      Technology (Beijing) Limited Company, LeEco Sports Industry Development (Beijing)
      Co., Ltd., Lele Interactive Music Culture Development (Beijing) Co., Ltd., LeEco
      Music Culture Industry Development (Beijing) Co., Ltd., Beijing Bairui Culture Media
      Co., Ltd., and Lucky Clover (the above-mentioned companies directly or indirectly
      controlled by the Actual Controller of LeEco are collectively referred to as "LeEco
      Related Entities".

          (6) Taoyun Capital Group Co., Ltd. (“Taoyun Capital”) is a limited liability
      Company legally established and validly existing under the laws of the PRC. The legal
      representative is Wen Xiaodong.

           (7) The Transferor intends to transfer 66.67% of the equity of the Target Company
      (the “Target Equity”) held by the Transferor to the Transferee in accordance with the
      terms and conditions of this Agreement, and the Actual Controller of LeEco shall
      procure Lucky CloverLimited (“Lucky Clover”), the controlling shareholder of Easy
      Go, to transfer its 66.67% equity interest in Easy Go (“Easy Go Equity”) to the
      designated overseas affiliates of Yunyun Capital and separately sign the corresponding
      overseas equity transfer agreement.
Case 2:19-bk-24804-VZ        Doc 554
                                 504 Filed 04/03/20
                                           04/02/20 Entered 04/03/20
                                                             04/02/20 16:54:12
                                                                      22:58:16                    Desc
                             Main
                              MainDocument
                                  Document PagePage36
                                                    35of
                                                       of331
                                                          52


           (8) Taoyun Capital and its related parties have reached consensus with the Actual
      Controller of LeEco and the LeEco Related Entities on payment of the consideration
      for the Target Equity and Easy Go Equity by deduction of the part or all of the claims
      in the package loans (collectively referred to as the "Transaction").




           In view of this, through friendly consultations, based on the principle of equality
      and mutual benefit and in accordance with the Contract Law of the People's Republic
      of China, the Company Law of the People's Republic of China and other relevant laws
      and regulations, all Parties have reached this Agreement on the above-mentioned equity
      transfer and payment of the consideration for the Transaction contemplated hereunder
      using the related claims in the package loans as follows.

          Article 1 Equity Transfer

          Article 1.01 Valuation of Easy GoGroup

          Prior to this Transaction, the Transferor, the Transferee, Taoyun Capital, the Actual
      Controller of LeEco, and the LeEco Related Entities agreed that Easy Go Group was
      valued at US$660 million as of the signing date hereof (converted to RMB 4.488 billion
      yuan according to the exchange rate of 1 USD to RMB 6.80 yuan) on the premises that
      the Transferee shall complete the due diligence as described in Article 1.02(b) hereof
      and there is no significant adverse event that would affect the Transaction after the
      signing of this Agreement.

         Article 1.02 Transaction Consideration, Due Diligence and Transaction
      Consideration Adjustment

          (a) Transaction Consideration:

           The equities to be transferred in this Transaction includes 66.67% of the equity of
      the Target Company legally held by the Transferor (the “Target Equity”) and 66.77%
      of the equity of Easy Go legally held by Lucky Clover, the controlling shareholder of
      Easy Go (“Easy Go Equity”). The Transferee agreed to acquire for the total
      consideration (the “Transaction Consideration”) of US$ 440 million (converted to
      RMB 2.992 billion yuan at the exchange rate of 1 USD to 6.80 yuan).After the
      completion of the Transaction the Target Equity will be held by the Transferee and the
      equity of Easy Go will be held by the designated affiliates of Taoyun Capital. However,
      after the signing of this Agreement, the Transferee will complete the independent due
      diligence, and the effectiveness of this Agreement shall be preconditional upon non-
      existence of material adverse impact on the Transaction.

          (b) Due Diligence:
Case 2:19-bk-24804-VZ         Doc 554
                                  504 Filed 04/03/20
                                            04/02/20 Entered 04/03/20
                                                              04/02/20 16:54:12
                                                                       22:58:16                    Desc
                              Main
                               MainDocument
                                   Document PagePage37
                                                     36of
                                                        of331
                                                           52



          After the signing of this Agreement, the Transferee will conduct a comprehensive
      legal and financial due diligence (“Due Diligence”) on the Ease Group, and the
      Transferor, the Target Company, and the Actual Controller of LeEco undertake to
      provide all necessary due materials and assistance in the due diligence, including the
      financial forecast data of Easy Go Group for the following 3 years.

          (c) Adjustments to Valuation of Easy Go Group and Transaction Consideration:

           As of the signing date of this Agreement, the Transferor, the Target Company, and
      the Actual Controller of LeEco guarantee that the total debt of the Easy Go Group that
      has been fully disclosed shall not exceed RMB 2.3 billion. The Transferor, LETV
      Holdings and the Actual Controller of LeEco shall be jointly and severally liable for
      the outstanding debts of Easy Go Group exceeding RMB 2.3 billion, including but not
      limited to outstanding bank loans, private loans, other arrears or any contingent
      liabilities (collectively referred to as “Excess Unliquidated Liabilities”).In such case,
      according to the professional advices of intermediary agency, the Transferee may adjust
      the valuation of the Easy Go Group and the considerations for the Target Equity and
      the Easy Go Equity, and deduct the corresponding amount from the Transaction
      Consideration paid by the Transferee, or recover the amount from the relevant jointly
      liable person.
          Article 2 Closing

          Article 2.01    Time and Location of Closing

         (a) The Parties shall sign this Agreement on the date fist written above in
      Dongcheng District, Beijing, China.

           (b) Within 45 working days after this Agreement is signed and comes into effect,
      the changes in the industrial and commercial registration for the equity transfer shall be
      completed.

           (c) After this Agreement is signed and comes into effect, the Transferee shall cancel
      the creditor's rights and debts and make payment to the Target Company on the date
      and in the method specified in paragraphs 2.02-2.03 hereof on the premise of satisfying
      the conditions stipulated herein. ("Payment")

          2.02 Deduction of Transaction Consideration

          The Transaction shall be a debt-based acquisition, and the consideration for the
      Transaction is divided into two parts:

         (a) The first part of the Transaction Consideration is in the form of debt
      commitment, and the Transferee agrees to bear the total debt of the Easy Go Group not
Case 2:19-bk-24804-VZ        Doc 554
                                 504 Filed 04/03/20
                                           04/02/20 Entered 04/03/20
                                                             04/02/20 16:54:12
                                                                      22:58:16                     Desc
                             Main
                              MainDocument
                                  Document PagePage38
                                                    37of
                                                       of331
                                                          52


      exceeding RMB 2.3 billion. After the completion of the change in the registration for
      equity and the industrial and commercial registration change for the Target Equity
      transfer and the Easy Go Equity transfer, the Transferee shall be deemed to have
      assumed the debt.

           (b) The second part of the Transaction Consideration is in the form of credit
      deduction, Taoyun Capital and its related parties and the Actual Controller of LeEco
      and the LeEco Related Entities agree to deduct the consideration for the Transaction in
      the amount of RMB 692 million using the claims contained in the package loans totaled
      RMB 692 million yuan. After this Agreement is signed and becomes effective, the
      above claims are deemed to have been deducted.

           (c) The Transferor and the Actual Controller of LeEco hereby clarify and confirm
      that after the completion of the above two parts, the Transferee shall be deemed to have
      paid the full consideration for the Transaction.

          Article 2.03 Payment Arrangements for Target Company

          With respect to the debt commitment under Article 2.02(b) of this Agreement, in
      order to solve the problem of insufficient operating cash flow of the Target Company
      within the Easy Go Group, the Transferee will provide money to the Target Company
      in several installments, the specific payment time of which shall be negotiated
      separately by the Transferee and the Target Company. However, the first installment of
      430 million yuan shall be paid within 2 working days after the signing of this
      Agreement.

          The designated collection account under the Target Company name is as follows:

            Account Name: Beijing Dongfang Cheyun Information Technology Co., Ltd.
            Bank: Ping An Bank Shanghai Anting Branch
            Account No.: 11015642476000

           The Target Company shall guarantee that the money paid according to this Article
      shall be used for paying off the total debts of the Easy Go Group not exceeding RMB
      2.3 billion. At the same time, the debt owed to the third party other than the Transferor,
      the Actual Controller of LeEco and LeEco Related Entities as included in the above-
      mentioned total debts shall be given the highest priority for settlement ("Third Party
      Debt"). No payment shall be made to the Transferor, the Actual Controller of LeEco
      and LeEco Related Entities until the third party debt is fully settled.

          Article 2.04 Fees and Taxes

          (a) The relevant expenses of this Transaction shall be borne by each Party
      respectively.
Case 2:19-bk-24804-VZ        Doc 554
                                 504 Filed 04/03/20
                                           04/02/20 Entered 04/03/20
                                                             04/02/20 16:54:12
                                                                      22:58:16                     Desc
                             Main
                              MainDocument
                                  Document PagePage39
                                                    38of
                                                       of331
                                                          52


           (b) Each Party shall, in accordance with applicable law, bear the taxes in connection
      with the Transaction, except that the Party shall perform the withholding obligation in
      accordance with the law (however, when asserting and actually performing the
      withholding obligation, one Party shall provide legal evidence in advance and obtain
      the consent of other Parties).

          Article 3 Change in Target Equity and Easy Go equity

          Paragraph 3.01 Capital Increase

           The Transferor or LETV Holdings shall complete the industrial and commercial
      registration for the Target Company's capital increase of US$230 million from this
      Agreement is signed and becomes effective until the fulfillment of paragraphs 3.02 and
      3.03 of this Agreement.

         Article 3.02     Industrial and Commercial Registration Change Related to
      Target Equity

           Within forty-five working days after this Agreement is signed and becomes
      effective, the Target Company shall complete the industrial and commercial registration
      change related to the equity transfer at the industrial and commercial registration
      authority, and obtain the new Business License for Enterprise Legal Person of the Target
      Company after the completion of the industrial and commercial registration change, a
      copy of which (bearing the official seal of the Target Company) shall be submitted to
      the Target Company.

         The Parties shall provide appropriate assistance in the course of the industrial and
      commercial registration change (if needed).

         Article 3.03 Industrial and Commercial Registration Change Related to Easy Go
      Equity

           Within three working days after this Agreement is signed and becomes effective,
      the Parties shall prompt the designated overseas affiliates of Taoyun Capital, Lucky
      Clover and the Actual Controller of LeEco to complete the signing and entry into force
      of the overseas equity transfer agreement, and complete the industrial and commercial
      registration change related to the Easy Go Equity within the time limit specified in the
      overseas equity transfer agreement.

         The Parties shall provide appropriate assistance in the course of the industrial and
      commercial registration change (if needed).

           Article 4 Equity Repurchase
Case 2:19-bk-24804-VZ        Doc 554
                                 504 Filed 04/03/20
                                           04/02/20 Entered 04/03/20
                                                             04/02/20 16:54:12
                                                                      22:58:16                     Desc
                             Main
                              MainDocument
                                  Document PagePage40
                                                    39of
                                                       of331
                                                          52


           Article 4.01 Equity Repurchase

           Upon reaching consensus among the interested parties such as the designated
      overseas affiliates of Taoyun Capital, the Transferor, and the Actual Controller of
      LeEco, the Transferor may require to repurchase part or all of the equity at the agreed
      reasonable price and at the time approved by the Parties (provisional 15% annual
      interest rate) ("Repurchase").

           Article 5 Representations and Warranties of the Transferor

           Article 5.01 The Transferor is a person with full capacity for civil conduct.

            Article 5.02 The Transferor has all the necessary powers, authorizations and
      capabilities to sign and deliver all transaction documents, fulfill its obligations under
      this Agreement and other transaction documents, and assume legal liability for the legal
      consequences. Each transaction document, once being signed and delivered, shall
      constitute a valid and legally binding obligation to the Company and its existing
      shareholders and may be enforced in accordance with its respective terms.

           Article 5.03 The Transferor hereby represents and warrants to the Transferee that,
      unless otherwise stated in advance, the Transferor's representations are true, accurate
      and complete in material terms as of the date of this Agreement.

          Article 5.04 The Transferor shall promptly obtain the resolution documents of the
      Company related to the equity transfer specified in this Agreement, and the legal
      documents on waiver of the right of first refusal that by other shareholders.

           Article 5.05 The Transferor is the legal owner of the Target Equity, and no pledge
      or other security interest or any other third party rights have been created on the Target
      Equity.

           Article 5.06 As of the signing date of this Agreement, except as disclosed to the
      Transferee by the Transferor, there is no situation that causes or may cause tax disputes,
      tax penalties or relevant judicial proceedings against the Transferee; the Target
      Company has not been involved in any disputes, punishments or judicial proceedings,
      including but not limited to any litigation, arbitration, administrative proceedings,
      enforcement measures or enforcement proceedings; there are no undisclosed Excess
      Unliquidated Obligations to be assumed by the Target Company and no cause of the
      above-mentioned obligations; the tax penalties, litigation, arbitration, administrative
      proceedings, enforcement measures, coercive measures, and Excess Unliquidated
      Obligations arisen prior to the date hereof shall be settled by the Target Company,
      however, the liability and damages for the Target Equity arising therefrom shall be
      borne by the Transferor.
Case 2:19-bk-24804-VZ        Doc 554
                                 504 Filed 04/03/20
                                           04/02/20 Entered 04/03/20
                                                             04/02/20 16:54:12
                                                                      22:58:16                      Desc
                             Main
                              MainDocument
                                  Document PagePage41
                                                    40of
                                                       of331
                                                          52


           Article 5.07 The execution, delivery and performance of this Agreement and
      being a Party to this Agreement shall not violate or contravene any laws, regulations or
      government directives applicable to any of its assets, property or business.

           Article 6 Representations and Warranties of the Transferee

           Article 6.01 The Transferee is an enterprise legal person established and validly
      existing according to law, and has the qualifications and rights of civil subjects that are
      compatible with the conclusion and performance of this Agreement. Once being duly
      authorized, signed and delivered by the Parties, this Agreement shall constitute a legal,
      valid and binding obligation to the Transferee and may be enforced in accordance with
      the terms hereof. The Transferee is not subject to any bankruptcy, restructuring,
      insolvency, litigation or other claims that generally affect the rights of its creditors.

            Article 6.02 Except for the lawful authorization to sign and execute this
      Agreement, the Transferee's execution and performance of this Agreement will not
      violate its business license, shareholder agreement, limited partnership agreement,
      articles of association (as applicable) or similar organization documents and will not
      violate any relevant laws or any government authorization, or any other agreement to
      which it is a Party (or binding it). In addition, there is no occurred and unsettled
      litigation, arbitration or other judicial or administrative proceedings which will affect
      its ability to perform any of its obligations under this Agreement.

           The source of the funds used by the Transferee to pay the first part of the
      Transaction Consideration is legal. There is no violation of any applicable laws and
      regulations, and no claim against or liability of the Company will be incurred.

           Article 6.04 The execution, delivery and performance of this Agreement and
      being a Party to this Agreement shall not violate or contravene any laws, regulations or
      government directives applicable to any of its assets, property or business.

           Article 7 liability for breach of contract

            Article 7.01 If any Party violates the provisions hereof and causes any loss to the
      other Parties, it shall bear the corresponding liability for compensation and pay all the
      litigation costs including the lawyer's fee incurred by the other Parties. In case of late
      payment, the default Party shall pay liquidated damages to other Parties at five over ten
      thousand of the unpaid amount for each day of delay.

           Article 8 Miscellaneous

          Article 8.01 Interpretation and Interpretation Principles
          (a) In this Agreement, “shall” and “should” are mandatory and have the same
      meaning as “must”; “may” is authoritative, the actor has the right to decide to act or not
Case 2:19-bk-24804-VZ        Doc 554
                                 504 Filed 04/03/20
                                           04/02/20 Entered 04/03/20
                                                             04/02/20 16:54:12
                                                                      22:58:16                      Desc
                             Main
                              MainDocument
                                  Document PagePage42
                                                    41of
                                                       of331
                                                          52


      to act. The Party enjoying a right may exercise or waiver on the right, and the freedom
      to choose and decide lies with that Party.

          (b) "Writing" means any form of recordable information that can be identified by
      normal means of visualization, including but not limited to fax, electronic transmission,
      e-mail, SMS, letters, etc.

           (c) References to or use of "hereunder" include all terms of this Agreement and its
      items, objectives, sentences, phases and words. “Article" includes and only includes the
      specified article and the paragraphs, items, sentences, phrases and words thereof. The
      "Clause" includes and only includes the specified Clause and all the items, sentences
      and words thereof, "Items" "Includes and includes only the specified items and all the
      items, sentences, phrase and words thereof.

           (d) References to “Parties” shall include all Parties listed in the preamble to this
      Agreement, and the Parties shall only assume individual, independent and non-joint
      legal obligations with respect to their own rights and obligations under this Agreement
      (unless otherwise expressly agreed).

           (e) “Including” or “including but not limited to”, is merely used as an enumeration
      and shall not to be construed as limiting, restricting, or excluding any other includible
      items than those enumerated.

            (f) “Delivery” means the legal fact that movable objects such as movable property
      or right certificates are transferred between entities.

           (g) “Law” means the law that applies generally or specifically to a particular matter
      under this Agreement. Subject to the provisions on governing law under Article 8.12
      hereof, references to “applicable law” refer not only to the laws enacted and enforced
      by the specific national or regional legislature in accordance with the applicable
      procedures, but also the normative documents enacted by local        legislature, the state
      or local judicial organs or administrative organs in accordance with the applicable
      procedures and generally accepted by the country or region as legally binding,
      regardless of whether they are named as laws, norms, regulations, rules, decisions,
      orders, opinions, notices or other. These laws shall be implemented, enforced and
      universally legally binding at the time of signing this Agreement, as amended and
      revised by the competent authorities from time to time.

           (h) "Judgment" means the judgment or ruling made by a court of competent
      jurisdiction in accordance with the applicable procedural law and substantive law; or
      the arbitration award made by the arbitral tribunal of competent jurisdiction in
      accordance with the applicable arbitral proceedings and substantive law agreed upon
      herein.
Case 2:19-bk-24804-VZ        Doc 554
                                 504 Filed 04/03/20
                                           04/02/20 Entered 04/03/20
                                                             04/02/20 16:54:12
                                                                      22:58:16                     Desc
                             Main
                              MainDocument
                                  Document PagePage43
                                                    42of
                                                       of331
                                                          52


            (i) Any reference to "proceedings" shall include litigation proceedings and
      arbitration proceedings. Litigation proceedings shall include criminal, civil and
      administrative litigation proceedings; the arbitration proceedings shall include labor
      arbitration proceedings, commercial arbitration proceedings, international arbitration
      proceedings and other types of arbitration proceedings.

            (j) Both “within” and “in” shall include this number/day; “over” shall not include
      this number/day.

           (k) Where any amount and number are used, in case of inconsistency between the
      capitals and lower-case letters, or inconsistency between the Arabic numerals and the
      Chinese numerals, the capitals or Chinese number shall prevail.

            (l) Any reference to "day" means a calendar day, starting from 0:00 am Beijing
      time until 24 hours later. References to "working days" or "business days" means any
      day or days other than Saturdays, Sundays and holidays, rest days in accordance with
      the applicable laws of the People's Republic of China or other countries or regions.
      Except as otherwise required by the context, if any of the rights or obligations under
      this Agreement are to be exercised or performed on a non-working day, the exercise or
      performance shall be extended to the first working day after that date. “Day" includes
      the day, and "next day" is the day following the alleged day.

           (m) Any reference to "yuan" or "YUAN" means the common currency of the
      People's Republic of China. References to “dollars” refer to the statutory common
      currency of the United States of America. Unless otherwise expressly agreed to use US
      dollars or other currencies, any payment obligations under this Agreement shall be
      denominated, settled and paid in RMB.

            (n) Any reference to "Chinese" shall mean the simplified Chinese characters
      commonly used in the mainland of the People's Republic of China in conformity with
      the standards for the use of Chinese languages and characters issued by the
      State Language Commission of the People's Republic of China.

           Article 8.02 Confidentiality

           (a) Confidential information under this Agreement, (i) for any individual,
      confidential information shall include the information contained in the Resident
      Identity Card of the People's Republic of China, other national or regional passport and
      other identification documents, such as the person's telephone number, mobile phone
      number or other contact information, home address, office address, marriage status,
      property information, etc. (ii) for any entity, confidential information shall include its
      patented technology, software source code, know-how, trade secrets, product
      development plan, pricing strategy, business method, investment, acquisition,
      reorganization, bank loan, bond issuance, listing plan, employee recruitment plan,
Case 2:19-bk-24804-VZ        Doc 554
                                 504 Filed 04/03/20
                                           04/02/20 Entered 04/03/20
                                                             04/02/20 16:54:12
                                                                      22:58:16                     Desc
                             Main
                              MainDocument
                                  Document PagePage44
                                                    43of
                                                       of331
                                                          52


      financial accounting information, etc.; (iii) for any matter or Transaction under this
      Agreement, confidential information shall include pre-contact, negotiation, meeting,
      conference, communication, mail, letter, fax and the drafting, modification, negotiation,
      signing, payment, delivery of or under the transaction agreement (including this
      Agreement),etc.; (iv) for the above information or other information, against which
      appropriate confidentiality measures have been taken, or have been identified as
      “confidential”, which the information holder is unwilling to disclose or make it known
      by others, and the disclosure or known to others of which will cause economic loss to
      or other significant adverse effects on information holder shall constitute the
      confidential information under this Agreement.

           (b) Unless compulsorily disclosed, anyone who acquires, receives, saves, uses,
      copies and transmits confidential information is obliged to take appropriate
      confidentiality measures so that they are not disclosed, revealed or known to others.
      “Compulsory disclosure” means the disclosure made according to legal, judicial or
      administrative requirements, including disclosure to any relevant government
      department or stock exchange in accordance with applicable laws or stock exchange
      rules. In the event of a mandatory disclosure, the disclosing Party shall, at the
      reasonable time prior to the disclosure and to the extent permitted by applicable law,
      consult with the confidential information provider and do its utmost to keep the
      disclosed information confidential. However, for the purposes of completion of this
      Agreement or the Transaction hereunder, one Party may disclose the confidential
      information to its affiliates or intermediary agencies such as legal counsel, financial
      advisors, etc., and shall ensure that the recipient of the information fully understands,
      knows and agrees to assume the same obligation of confidentiality as the disclosing
      Party. In addition, no Party may use confidential information in any way for any other
      purpose.

           (c)For any information disclosed or permitted to be disclosed by either this
      Agreement or any Party hereto, becomes or has been publicly available at the time of
      disclosure for reasons not attributable to any Party or its affiliates, or is derived from
      any bona fide third party, the recipient of the information shall not assume
      confidentiality liability within the scope of the information obtained. However, in no
      event shall any information be deemed to be non-confidential solely due to any
      provision that no confidentiality liability shall be assumed.

           Article 8.03 Effectiveness, Amendment and Termination

           (a) This Agreement shall become effective upon being signed and and/or stamped
      by the legal representatives or the authorized representatives of the Parties or by
      themselves ("Signature").

           (b) Upon signing on the signing page of this Agreement, each of the Parties shall
      be deemed to have fully understood and acknowledged the rights of the Parties and the
Case 2:19-bk-24804-VZ        Doc 554
                                 504 Filed 04/03/20
                                           04/02/20 Entered 04/03/20
                                                             04/02/20 16:54:12
                                                                      22:58:16                       Desc
                             Main
                              MainDocument
                                  Document PagePage45
                                                    44of
                                                       of331
                                                          52


      terms and conditions hereof, agreed to perform all of the obligations hereunder after the
      entry into force of this Agreement, be willing to be bound by all of the terms and
      conditions hereof and assume any legal liability arising herefrom. The Parties agree that
      only affixing the official seal to the signature page or signatory place hereof without the
      signature of the legal representative or authorized representative, or the official seal
      being a non-contract special seal such as financial special seal, or signing this
      Agreement by the person authorized by the legal representative or failure of the
      signatory to obtain written authorization at the time of signature or after signature shall
      not affect the entry into force of this Agreement. Any objection to the validity of this
      Agreement on the grounds that there is only the seal without the signature, this
      Agreement is signed by other person than the legal representative, the seal is non-
      contract special seal or the representative is authorized shall be invalid.

           (c) This Agreement shall not be amended without the agreement of the Parties.
      Any valid amendment shall be made in separate written supplementary agreement to
      this Agreement after reaching consensus .If any Party hereto initiates or files a lawsuit
      or arbitral proceedings, and the court, tribunal or arbitral tribunal of competent
      jurisdiction ultimately rules that any clause or wording of this Agreement is invalid or
      unenforceable ("Invalid Clause") and have to be modified, the Parties shall jointly
      complete the amendment through good faith negotiation and based on the basic
      principle of maximizing compliance with this Agreement, so that the matters proposed
      and the rights and obligations of the Parties hereunder can be completed and achieved
      to the maximum extent. If, within fifteen (15) days after the ruling takes effect, the
      Parties are still unable to reach an agreement on the amendment of this Agreement, then:

               (i)   this Agreement may be un-amended and such invalid clause shall be
                     deemed and construed to have not been formulated or contained herein
                     from the effectiveness of this Agreement; or,

               (ii) if the invalid clause actually constitutes the fundamental clause hereof, or
                      the invalidity or non-existence of such clause will lead to the fundamental
                      purpose of this Agreement being unfulfilled or uncontinued performance
                      of this Agreement, this Agreement shall be terminated.

           (d) Each Party hereto shall use its reasonable and best efforts to abide by and
      perform this Agreement. This Agreement shall not be terminated without the agreement
      of the Parties except

               (i) if any court, tribunal or arbitral tribunal of competent jurisdiction rules, in
                        accordance with applicable law, that all or part of the terms hereof is
                        invalid, revoked or unenforced, or if any government department
                        decides to terminate all or part of this Agreement, this Agreement or
                        the corresponding terms shall be terminated;
Case 2:19-bk-24804-VZ        Doc 554
                                 504 Filed 04/03/20
                                           04/02/20 Entered 04/03/20
                                                             04/02/20 16:54:12
                                                                      22:58:16                      Desc
                             Main
                              MainDocument
                                  Document PagePage46
                                                    45of
                                                       of331
                                                          52


               (ii) If any Party seriously violates this Agreement, which leads to the
                       fundamental purpose of this Agreement being unfulfilled or
                       uncontinued performance of this Agreement, this Agreement shall be
                       terminated;

                (iii) Termination in accordance with Article 7 of this Agreement.

           (e) Under the above circumstances, the Party who decides to terminate the
      agreement shall issue a notice of termination to the other Parties and this Agreement
      shall terminate as of the effective date of the notice.

          Article 8.04 Transfer of Rights and Obligations

           No rights and obligations under this Agreement may be transferred to any other
      third party without the unanimous consent of the other Parties. In case of the transfer
      of any rights and obligations, the Transferor shall notify the other Parties in writing and
      obtain their consents before proceeding with the transfer.

          Article 8.05 No Waiver

           Except as otherwise provided by laws and regulations or as otherwise agreed in
      this Agreement, failure to exercise, being unable to exercise or delay in exercise of any
      of its rights, powers or remedies under this Agreement or obtained according to this
      Agreement shall not constitute the waiver on such or any other rights, powers or
      remedies. The waiver on part of the rights by any Party shall not constitute waiver or
      exemption from other rights that are not expressly waived.

          Article 8.06 Notice

           (a) Unless otherwise agreed, all notices, complaints, claims, demands and other
      information communicates ("Notices") under this Agreement shall be made in writing
      and delivered by hand, courier, fax, or registered mail (postage prepaid and return
      receipt required).Notwithstanding the foregoing, if the Parties send notice by electronic
      communication in accordance with commercial practices or past transaction habits and
      the recipient raises no objection, such notice shall be deemed to have the same legal
      effect as the written notice. For the purposes of this Agreement, the so-called electronic
      communication means the use of instant messaging methods such as e-mail, messages
      of mobile phones and other mobile communication devices, WeChat, QQ or SKYPE to
      transmit information or to issue notifications. In case of agreement on electronic
      communication, the recipient shall provide an accurate number or account to ensure
      that the notice can be delivered in time. The notice shall be sent to the address provided
      by the Parties on the signing page of this Agreement, or other address changed after this
      Agreement is signed, as long as the Party changes the address according to the actual
      situation and immediately informs the other Party of the changed address. The notice
Case 2:19-bk-24804-VZ         Doc 554
                                  504 Filed 04/03/20
                                            04/02/20 Entered 04/03/20
                                                              04/02/20 16:54:12
                                                                       22:58:16                        Desc
                              Main
                               MainDocument
                                   Document PagePage47
                                                     46of
                                                        of331
                                                           52


      shall specify the matters involved, the completion requirements and conditions, and the
      deadline, and shall be written in Chinese. If the notice is used to report an incident, it
      shall state the time, place, process, cause and result of the incident and provide evidence.
      In the case of a correction notice, specific errors or defects shall also be indicated.

          (b) A notice sent under this Agreement shall be deemed to be served validly
      ("Service") if any of the following conditions are satisfied:

               (i) if sent by electronic communication, the notice shall be deemed to be
                       validly served on the day when the email is successfully sent actually
                       or as indicated;

                (ii) if delivered by a person, the notice shall be deemed to be validly served
      on the date of delivery by the person;

                (i) if sent by registered mail, the notice shall be deemed to be validly served
      on the seventh day after the date of mailing (by postmark);

                (iv) if sent by courier, the notice shall be deemed to be validly served on the
      third day after the delivery of it to the courier service.

           (c) In the case of any of the above-mentioned services, if the recipient informs the
      sender on the day following the date of service and expressly indicates that no notice
      has been received, the notice shall be deemed not to have been served and the Parties
      shall immediately negotiate and determine to resend the notice ("Resent Notice").The
      above mentioned service rules shall still be applicable to the Resent Notice. In the event
      that any notice cannot be severed due to untrue or inaccurate address provided by the
      recipient, or although the notice has been served, the recipient fails to accept process or
      understand the notice in a timely manner, resulting in the failure of the purpose of the
      notice and losses to the recipient ("Failure of Notice"), the recipient shall bear all losses;
      if the sender suffers any loss due to the Failure of Notice, the sender shall have the right
      to obtain compensation from the recipient.

          Article 8.07 Integrity

          This Agreement shall constitute the entire agreement among the Parties with
      respect to the subject matter hereof and this Agreement shall have the legal effect of
      replacing any prior written or oral agreement among the Parties on the subject matter
      hereof.

          Article 8.08 Severability

          If any terms or provisions of this Agreement are deemed to be invalid or
      unenforceable in any jurisdiction, such terms or provisions shall be void only in such
Case 2:19-bk-24804-VZ         Doc 554
                                  504 Filed 04/03/20
                                            04/02/20 Entered 04/03/20
                                                              04/02/20 16:54:12
                                                                       22:58:16                        Desc
                              Main
                               MainDocument
                                   Document PagePage48
                                                     47of
                                                        of331
                                                           52


      invalid or unenforceable scope, and the remainder shall not be affected and remain in
      full force and effect. The invalidity and unenforceability of any provision in a
      jurisdiction shall not affect its legal effect in other jurisdictions. It shall remain in full
      force and effect in other jurisdictions. In addition, if any provision of this Agreement is
      deemed to be invalid or unenforceable and will become effective or enforceable in case
      of deletion part thereof, then such provision shall be modified to the extent necessary
      to make it effective and enforceable.

          Article 8.09 Independent Clause

           The provisions on the liability for breach of contract, confidentiality, notice,
      governing law and dispute resolution hereof shall have fully independent legal effect.
      The invalidity, cancellation or termination of the entire (or part) of this Agreement shall
      not affect the legal effect of such provisions, which shall continue to be valid.

          Article 8.10 Headings

          Any headings in this Agreement are for convenience of reading only and do not
      constitute a summary or explanation of any of the terms of this Agreement, nor do they
      have any effect on the interpretation of any terms.

          Article 8.11 Languages

           This Agreement is written, interpreted, retained and performed in the Simplified
      Chinese version of the People's Republic of China. Any Party may translate it into any
      other language according to the respective needs. However, in the event of any conflict,
      inconsistency or discrepancy in the writing, interpretation, and performance of the
      terms in any other language and in the language of this Agreement, the Chinese version
      shall prevail.

          Article 8.12 Governing Law and Dispute Resolution

          This Agreement, any transaction, action, conduct or arrangement under this
      Agreement, and all rights and obligations of the Parties under this Agreement shall be
      governed by the laws of the People's Republic of China and shall be construed in
      accordance with such laws.

           In the event of any dispute arising from this Agreement, any Party shall have the
      right to file litigation with the People's Court of competent jurisdiction at the place
      where this Agreement is signed.

          8.13
Case 2:19-bk-24804-VZ       Doc 554
                                504 Filed 04/03/20
                                          04/02/20 Entered 04/03/20
                                                            04/02/20 16:54:12
                                                                     22:58:16                   Desc
                            Main
                             MainDocument
                                 Document PagePage49
                                                   48of
                                                      of331
                                                         52


          This Agreement is made in eight originals with each Party holding one (1) original,
      and the remaining (2) originals shall be used for registration with the registration
      authority (if required), each of which shall have the same legal effect.

          (The remainder is left blank intentionally)
Case 2:19-bk-24804-VZ      Doc 554
                               504 Filed 04/03/20
                                         04/02/20 Entered 04/03/20
                                                           04/02/20 16:54:12
                                                                    22:58:16           Desc
                           Main
                            MainDocument
                                Document PagePage50
                                                  49of
                                                     of331
                                                        52


          (Signature Page of the Equity Transfer Agreement)

          Signed by: Shanghai Zheyun Business Consulting Partnership (Limited
      Partnership) (Official Seal)
          signature:
          Position:
          Signatory: Wu Meng

                  ~,*5
          signature:
                             ~
          Signed by: Beijingx; tifl!.tt*;tJ111rn
                                 DongfangmCheyun <j Information Technology Co., Ltd.

                  t~~ ~
      (official seal)
          signature:
          Position:
          Signed by: LETV Holdings (Beijing) Co., Ltd. (official seal)
          signature:
          Position:
          Signed by: Taoyun Capital Group Co., Ltd. (official seal)
          signature:
          Position:
          Signed by: Jia Yueting
          signature:
Case 2:19-bk-24804-VZ   Doc 554
                            504 Filed 04/03/20
                                      04/02/20 Entered 04/03/20
                                                        04/02/20 16:54:12
                                                                 22:58:16   Desc
                        Main
                         MainDocument
                             Document PagePage51
                                               50of
                                                  of331
                                                     52
            Case 2:19-bk-24804-VZ                 Doc 554
                                                      504 Filed 04/03/20
                                                                04/02/20 Entered 04/03/20
                                                                                  04/02/20 16:54:12
                                                                                           22:58:16                                      Desc
                                                  Main
                                                   MainDocument
                                                       Document PagePage52
                                                                         51of
                                                                            of331
                                                                               52

                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): DEBTOR’S NOTICE OF OBJECTION AND
 OBJECTION TO CLAIM 56 FILED BY SHEHZHEN JINCHENG COMMERCIAL FACTORING CO.,
 LTD.; MEMORANDUM OF POINTS AND AUTHORITIES AND DECLARATIONS OF YUETING JIA
 AND SHAN HE IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form
 and manner required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 April 2, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) April 2, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
 or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.

 United States Bankruptcy Court
 Central District of California
 Attn: Hon. Vincent Zurzolo
 Edward R. Roybal Federal Bldg./Courthouse
 255 East Temple Street, Suite 1360
 Los Angeles, CA 90012
                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ___________, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 2, 2020      Nancy H. Brown                                                            /s/ Nancy H. Brown
 Date                      Printed Name                                                       Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:328782.1 46353/002
        Case 2:19-bk-24804-VZ                Doc 554
                                                 504 Filed 04/03/20
                                                           04/02/20 Entered 04/03/20
                                                                             04/02/20 16:54:12
                                                                                      22:58:16                                      Desc
                                             Main
                                              MainDocument
                                                  Document PagePage53
                                                                    52of
                                                                       of331
                                                                          52


SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
        Jeffrey W Dulberg jdulberg@pszjlaw.com
        Lei Lei Wang Ekvall lekvall@swelawfirm.com,
         lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
        Stephen D Finestone sfinestone@fhlawllp.com
        Richard H Golubow rgolubow@wghlawyers.com,
         pj@wcghlaw.com;jmartinez@wghlawyers.com;Meir@virtualparalegalservices.com
        Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
        Ben H Logan blogan@omm.com
        Robert S Marticello Rmarticello@swelawfirm.com,
         gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
        David W. Meadows david@davidwmeadowslaw.com
        John A Moe john.moe@dentons.com, glenda.spratt@dentons.com
        Kelly L Morrison kelly.l.morrison@usdoj.gov
        Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
        Christopher E Prince cprince@lesnickprince.com, jmack@lesnickprince.com;cprince@ecf.courtdrive.com
        Victor A Sahn vsahn@sulmeyerlaw.com,
         pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;vsahn@ecf.inforuptcy.com;cblair@sulmeyerlaw.com;cblair@ecf
         .inforuptcy.com;dlee@metallawgroup.com;dlee@ecf.inforuptcy.com
        Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
        Benjamin Taylor btaylor@taylorlawfirmpc.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Felix T Woo fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
        Claire K Wu ckwu@sulmeyerlaw.com,
         mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
        Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
        David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com




    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                            F 9013-3.1.PROOF.SERVICE
DOCS_LA:328782.1 46353/002
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 54 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 55 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 56 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 57 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 58 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 59 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 60 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 61 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 62 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 63 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 64 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 65 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 66 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 67 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 68 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 69 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 70 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 71 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 72 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 73 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 74 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 75 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 76 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 77 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 78 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 79 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 80 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 81 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 82 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 83 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 84 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 85 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 86 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 87 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 88 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 89 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 90 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 91 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 92 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 93 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 94 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 95 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 96 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 97 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 98 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document    Page 99 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 100 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 101 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 102 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 103 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 104 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 105 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 106 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 107 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 108 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 109 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 110 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 111 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 112 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 113 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 114 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 115 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 116 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 117 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 118 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 119 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 120 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 121 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 122 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 123 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 124 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 125 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 126 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 127 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 128 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 129 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 130 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 131 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 132 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 133 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 134 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 135 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 136 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 137 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 138 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 139 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 140 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 141 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 142 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 143 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 144 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 145 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 146 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 147 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 148 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 149 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 150 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 151 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 152 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 153 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 154 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 155 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 156 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 157 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 158 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 159 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 160 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 161 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 162 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 163 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 164 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 165 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 166 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 167 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 168 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 169 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 170 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 171 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 172 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 173 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 174 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 175 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 176 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 177 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 178 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 179 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 180 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 181 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 182 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 183 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 184 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 185 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 186 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 187 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 188 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 189 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 190 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 191 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 192 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 193 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 194 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 195 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 196 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 197 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 198 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 199 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 200 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 201 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 202 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 203 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 204 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 205 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 206 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 207 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 208 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 209 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 210 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 211 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 212 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 213 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 214 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 215 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 216 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 217 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 218 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 219 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 220 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 221 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 222 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 223 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 224 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 225 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 226 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 227 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 228 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 229 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 230 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 231 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 232 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 233 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 234 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 235 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 236 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 237 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 238 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 239 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 240 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 241 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 242 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 243 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 244 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 245 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 246 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 247 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 248 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 249 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 250 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 251 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 252 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 253 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 254 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 255 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 256 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 257 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 258 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 259 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 260 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 261 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 262 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 263 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 264 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 265 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 266 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 267 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 268 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 269 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 270 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 271 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 272 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 273 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 274 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 275 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 276 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 277 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 278 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 279 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 280 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 281 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 282 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 283 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 284 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 285 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 286 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 287 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 288 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 289 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 290 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 291 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 292 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 293 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 294 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 295 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 296 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 297 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 298 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 299 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 300 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 301 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 302 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 303 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 304 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 305 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 306 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 307 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 308 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 309 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 310 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 311 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 312 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 313 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 314 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 315 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 316 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 317 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 318 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 319 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 320 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 321 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 322 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 323 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 324 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 325 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 326 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 327 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 328 of 331
Case 2:19-bk-24804-VZ   Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12   Desc
                        Main Document   Page 329 of 331
        Case 2:19-bk-24804-VZ                  Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12                                        Desc
                                               Main Document   Page 330 of 331

                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                             10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled: NOTICE OF OBJECTION TO CLAIM will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 3, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) April 3, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

VIA U.S. MAIL
United States Bankruptcy Court
Central District of California
Attn: Hon. Vincent Zurzolo
Edward R. Roybal Federal Bldg./Courthouse
255 East Temple Street, Suite 1360
Los Angeles, CA 90012


                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 April 3, 2020             Nancy H. Brown                                             /s/ Nancy H. Brown
 Date                        Printed Name                                                    Signature




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 2                          F 3007-1.1.NOTICE.OBJ.CLAIM
DOCS_LA:328813.1 46353/002
        Case 2:19-bk-24804-VZ                  Doc 554 Filed 04/03/20 Entered 04/03/20 16:54:12                                        Desc
                                               Main Document   Page 331 of 331

SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

       Jerrold L Bregman ecf@bg.law, jbregman@bg.law
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Lei Lei Wang Ekvall lekvall@swelawfirm.com, lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
       Stephen D Finestone sfinestone@fhlawllp.com
       Richard H Golubow rgolubow@wghlawyers.com,
        pj@wcghlaw.com;jmartinez@wghlawyers.com;Meir@virtualparalegalservices.com
       Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
       Ben H Logan blogan@omm.com
       Robert S Marticello Rmarticello@swelawfirm.com,
        gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
       David W. Meadows david@davidwmeadowslaw.com
       John A Moe john.moe@dentons.com, glenda.spratt@dentons.com
       Kelly L Morrison kelly.l.morrison@usdoj.gov
       Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
       Christopher E Prince cprince@lesnickprince.com, jmack@lesnickprince.com;cprince@ecf.courtdrive.com
       Victor A Sahn vsahn@sulmeyerlaw.com,
        pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;vsahn@ecf.inforuptcy.com;cblair@sulmeyerlaw.com;cblair@ecf.in
        foruptcy.com;dlee@metallawgroup.com;dlee@ecf.inforuptcy.com
       Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
       Benjamin Taylor btaylor@taylorlawfirmpc.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Felix T Woo fwoo@ftwlawgroup.com, admin@ftwlawgroup.com
       Claire K Wu ckwu@sulmeyerlaw.com,
        mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
       Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
       David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 2                          F 3007-1.1.NOTICE.OBJ.CLAIM
DOCS_LA:328813.1 46353/002
